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                         EXHIBIT 1


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     Forth v. LCSD!, et al.                   1:20-cv-00053-ABJ
                                                                 1

 1               IN THE UNITED STATES DISTRICT COURT

 2                     FOR THE DISTRICT OF WYOMING

 3    ------------------------------------------------------
      GRACIE ANN FORTH,
 4
                            Plaintiff,
 5
                 vs.            Civil No. 1:20-cv-00053-ABJ
 6
      LARAMIE COUNTY SCHOOL DISTRICT
 7    No. 1 and John/Jane Does 1-10
      in his/her official capacity,
 8
                          Defendants.
 9    ------------------------------------------------------

10

11            VIDEOCONFERENCE DEPOSITION OF JOHN LYTTLE
                        Taken by the Plaintiff
12
                           9:12 a.m., Wednesday
13                           December 9, 2020

14

15               PURSUANT TO NOTICE, the videoconference

16    deposition of JOHN LYTTLE was taken in accordance with the

17    applicable Federal Rules of Civil Procedure before Kathy

18    J. Kendrick, a Registered Professional Reporter and a

19    Notary Public in and for the State of Wyoming.

20

21

22

23

24

25




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 1           A.    Robert Hodges.

 2           Q.    Robert?

 3           A.    Robert Hodges.

 4           Q.    And you believe that was around 2000?

 5           A.    Yep.   It was in that time frame.

 6           Q.    Why were you the person involved or -- that

 7    begun the investigation?

 8           A.    I was the designated Title IX coordinator for

 9    the School District, and my position was assistant

10    superintendent of human resources.

11           Q.    How long were you the Title IX coordinator?

12           A.    Same number of years I was assistant

13    superintendent of human resources.       That would have been

14    15 years.

15           Q.    And so was that from 1999 to 2014?

16           A.    Yes.

17           Q.    Was there any other Title IX coordinator during

18    that time?

19           A.    No.

20           Q.    Is there just one Title IX coordinator?

21           A.    Yes.   During my tenure.   I don't know what it is

22    now.

23           Q.    And was that the circumstance until you were --

24    until you left the School District in 2018?

25           A.    Yes.




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 1        Q.    Who succeeded you as Title IX coordinator?

 2        A.    First year I was named interim superintendent,

 3    Matt Strannigan held that position for one year until I

 4    became superintendent.     He was a retired administrator

 5    that came back to the District to work for that year.

 6        Q.    And do you know who the Title IX coordinator was

 7    after Mr. Strannigan?

 8        A.    Dr. Marc LaHiff.

 9        Q.    And do you know who the Title IX coordinator was

10    after Marc LaHiff?

11        A.    Mark and I retired the same year, so I know

12    policy when I left, it was assistant superintendent of

13    human resources.     I don't know if that's changed or not.

14    If it hasn't changed, it would be John Weigel who occupies

15    that position now, currently.

16        Q.    Has Dr. Kinney ever been a Title IX coordinator?

17        A.    I -- she has not been a -- the -- the

18    coordinator, but has assisted with investigations.

19        Q.    Is the Title IX coordinator the individual

20    designated to receive complaints and reports and

21    information about potential Title IX violations?

22        A.    That's the person ultimately responsible for

23    them, but they can go through -- it can go through a

24    number of processes.     And our policies and our -- I need

25    to disassociate myself, since I'm no longer there.




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 1               In the District's policies, it talks about the

 2    frontline supervisors.     The School District has almost

 3    14,000 students, talking about 25-, 2800 employees.      So

 4    it's -- one person is not always there.     So there's

 5    frontline supervisors that will receive reports.     And the

 6    board policy is how it was when I was there, that the --

 7    each high school -- or each principal in each building --

 8    elementary, junior high and high school -- would be the

 9    first person to receive the report if there's any sexual

10    discrimination, sexual harassment, sexual -- inappropriate

11    activities going on.     They would be the first people to

12    receive a report.     And with our other employee groups, we

13    have, you know, someone that's head of transportation, so

14    if there's some issue that a bus driver might be aware of,

15    you know, they would report it to their supervisor.      And

16    ultimately it would work up -- its way up the chain to the

17    Title IX coordinator.

18        Q.     And so per School District policy, the

19    individuals, in a perfect world, who received first report

20    are the individuals on the ground in each building,

21    correct?

22        A.     Exactly.

23        Q.     And any supervisor is a designee to receive a

24    report, correct?

25        A.     Correct.




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 1        Q.    So that could be the building principal or an

 2    assistant associate principal; is that right?

 3        A.    Yes.

 4        Q.    In -- in the incident that you were just talking

 5    about involving Mr. Hodges, I think you indicated that a

 6    teacher initially brought to the principal's attention

 7    some behaviors involving several female students in this

 8    man's class and a water fight, correct?

 9        A.    Correct.

10        Q.    And then do you know -- and I apologize if you

11    already stated this, but do you know whether the principal

12    looked into this prior to contacting you as the Title IX

13    coordinator?

14        A.    The principal called me directly.     I received

15    information Friday night or Friday after school, and

16    the -- by the time the -- I received the information, then

17    I went out, went to the building first thing Monday

18    morning and had a conversation.    So the principal had just

19    received the information.

20        Q.    And so unless a person makes a report directly

21    to the Title IX coordinator, there -- there has to be a

22    reliance on the supervisor in the building to either

23    investigate or notify the Title IX coordinator of concerns

24    about a student-teacher relationship; is that right?

25        A.    That's part -- that's one way it can happen.




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 1    These could be reported directly to the -- the Title IX

 2    coordinator.     You know, we investigate no matter who it's

 3    reported to.     Like in this case, the teacher first.    The

 4    teacher talked to the principal.     The teacher can come

 5    directly to the assistant superintendent of human

 6    resources or anyone at the administration building could

 7    have initiated -- it could have initiated an

 8    investigation.

 9        Q.      And in that circumstance with Mr. Hodges, it

10    sounds like the teacher was reporting certainly some

11    inappropriate conduct or inappropriate student-teacher

12    boundaries; is that right?

13        A.      I would say they were questionable at that

14    point.

15        Q.      And that led to an investigation?

16        A.      It did.

17        Q.      And Mr. Hodges was ultimately terminated or

18    resigned?

19        A.      When Mr. Hodges came into the superintendent and

20    I, his comment was, "If you don't trust me, I resign."          So

21    he resigned immediately.     We still pursued the

22    investigation.

23        Q.      And so if he resigned immediately, he was -- he

24    was no longer a teacher or even had a presence at that

25    school at that point, correct?




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 1    them, I said, when you get to me, if I am not

 2    investigating or if I'm involved in the complaint, take it

 3    to the superintendent.   I said if it's the superintendent,

 4    you take it to the board chair.    And then Office of Civil

 5    Rights, you know, they can go any time if they felt they

 6    needed to do that.

 7        Q.    And is sexual assault or sexual abuse something

 8    that would fall within that type of harassment that

 9    would -- should be reported and investigated?

10        A.    Absolutely.

11        Q.    I'm just taking a second to look over my notes

12    to see if maybe we can take a break.    But I don't want to

13    be in the middle of a line of questioning.     Just give me a

14    minute.

15              Mr. Lyttle, in terms of your duties as assistant

16    superintendent of human resources, were part of your

17    duties to keep and maintain personnel files?

18        A.    Yes.

19        Q.    And where are those files kept?

20        A.    They're kept in the human resources office at

21    the School Administration Building, 2018 House Avenue.

22        Q.    And within those files is -- what type of

23    information is contained within those files?

24        A.    Evaluations, any disciplinary-type actions,

25    letters of accommodation, days of employment, copies of




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 1    the certifications.

 2           Q.   What is the purpose of the personnel file?

 3           A.   It documents the employee's employment history.

 4    And I hadn't finished.     There's some other things in there

 5    as well, but...

 6           Q.   I'm sorry.   Go ahead.

 7           A.   Anything dealing with the employment, if --

 8    transcripts.    If it's -- the School District pays

 9    additional funds and salaries, someone advances on the

10    salary schedule, so salaries -- documents verifying

11    changes of salary would also be in the personnel files.

12           Q.   Is information related to teacher-student

13    boundaries something that might be related -- might be

14    put -- placed into a personnel file?

15           A.   In terms of a disciplinary type?

16           Q.   Whether it's discipline or whether it's a

17    write-up indicating that there is concern about

18    inappropriate teacher-student boundaries.

19           A.   I would consider that disciplinary.   Even if

20    it's a write-up, I would consider it disciplinary.       So

21    yes.

22           Q.   Is there a probationary period for new teachers?

23           A.   The Wyoming statutes -- the teachers start --

24    they're called initial contract teachers for the first

25    three years.    So that would be a probationary period.




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 1    County School District 00272.     Do you see that at the

 2    bottom?

 3         A.    I do.

 4         Q.    And this is a reference check on Mr. Meza.      My

 5    question is, under what, if any, weaknesses have you

 6    observed in this applicant?     It appears that somebody

 7    wrote something initially, scratched it out, and then put

 8    "too close to students."    Do you have any opinion -- well,

 9    do you know whether this was followed up on in any way?

10         A.    I don't.   There's also another -- I'm sure you

11    must have access to that too, personnel action, where they

12    put the summary judgment, you know, and most -- I -- I

13    believe the majority of our principals actually do calls,

14    not just -- just the written documentation, but they would

15    put a summary statement of what they found out about

16    references, and I would ask them -- you know, told them

17    they needed to have a reference for more than one

18    individual.   So that would be on the personnel action

19    form.

20         Q.    And if an individual writes that a teacher is

21    too close to students -- and, of course, this is an

22    application for a math teacher -- a junior high math

23    teacher, do you have an opinion on whether or not that's

24    something that the principals should follow up on?

25         A.    I would have conversation with -- with the




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 1    person that wrote it to find out what exactly that meant.

 2    Yes, I think they should follow up on it, to answer your

 3    question.

 4                         MS. McCORKLE:     Thank you.   I will -- we can

 5    take a break I promised you about half an hour ago.

 6                        (Videoconference deposition proceedings

 7                        recessed 10:47 a.m. to 11:02 a.m. )

 8        Q.      (BY MS. McCORKLE)        Mr. Lyttle, I'm going to

 9    share my screen again.       Whoops.     This is, again, Exhibit

10    Number 8.    And it's Bate number 00203.        It looks like this

11    is a -- it's a request for personnel action.           And just

12    tell me if I'm correct.       It appears that Mr. Meza is being

13    hired as a full-time employee effective July 1, 2012.             Do

14    you see that?

15        A.      I do.

16        Q.      And do you know whether this is indicating that

17    he is a -- that this is an initial contract teacher or a

18    continuing contract teacher?

19        A.      It's -- it's not on that -- well, I can't quite

20    see the bottom up there.       Let's see.

21        Q.      I can make that bigger too.

22        A.      BS plus 45.     When he's first hired in the School

23    District, either be considered -- if you change the school

24    districts and had received continuing contract status in

25    another district, the one year is cut off on becoming a




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 1         Q.    Mr. Meza was eventually terminated and -- and,

 2    actually, he was allowed to resign on October 31, 2018,

 3    which is about 15 months after the District first received

 4    notice about these allegations.      Did the District do

 5    anything within that time frame to investigate the

 6    allegations?

 7         A.    We took a look at the police report, and it

 8    referenced in that termination notice.

 9         Q.    If --

10         A.    In terms of us -- I'm sorry.

11         Q.    No.     Go ahead.

12         A.    In terms of us doing some other investigation,

13    I don't have knowledge -- I don't remember, you know, the

14    District doing something of that nature.

15         Q.    If Mr. Meza had not been prosecuted, would the

16    District still be interested in terminating Mr. Meza?

17         A.    We would have, based on the information that we

18    received from the Cheyenne Police Department, their

19    investigation.

20         Q.    And, Mr. Lyttle, Ms. Forth first reported the

21    sexual abuse on May 26, 2017, and the District was aware

22    by June 6, 2017.      And then we just discussed that Mr. Meza

23    didn't plead guilty until October 2, 2018 and was allowed

24    to resign at the end of that month.      And during that time

25    there were a couple of transitions and some major




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 1    transitions in personnel.        Your last day as superintendent

 2    was on June 30, 2018; is that right?

 3         A.      Correct.

 4         Q.      And Boyd Brown took over as superintendent on

 5    July 1, 2018?

 6         A.      Correct.

 7         Q.      Did you have any discussions with him about the

 8    allegations against Joe Meza by Gracie Forth?

 9         A.      No.     He and I met, and I updated on him on just

10    all kinds of topics.        I don't recollect a specific

11    conversation about that, but --

12         Q.      You don't recollect -- recollect a specific

13    conversation about the issue with the relationship between

14    Ms. Forth and Mr. Meza?

15         A.      I -- I don't remember going -- going through

16    that.     I'm not saying I didn't do it.     I just don't recall

17    the -- because we were going through all kinds of topics I

18    was updating him on.

19         Q.      Okay.     And at this time, there was an accusation

20    against a teacher by a student.        The teacher had been

21    charged and arrested.        About a year had elapsed.     He had

22    not yet gone to trial, had not yet pled guilty, and was

23    pending termination, and there's a possible lawsuit

24    pending at that point.        There wasn't a discussion with

25    Dr. Brown about this that you can specifically recollect?




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 1          A.    I -- I don't remember all the topics we covered.

 2    I -- it would be a logical one I probably covered, but I

 3    don't recall specifically all the things we talked about

 4    at the time.

 5          Q.    And Dr. LaHiff retired at the same time that you

 6    retired.    Did you -- do you know whether -- well, did you

 7    speak with the new human resources person about these

 8    allegations pending termination, any of those topics?

 9          A.    Sorry.    I don't remember.   There was a lot going

10    on.    I don't remember all the conversations I had with new

11    staff coming in.

12          Q.    Okay.    Do you recall whether there was some

13    publicity surrounding this case?

14          A.    There was -- there were some articles in the

15    newspaper regarding the arrest.

16          Q.    Does your community relations department monitor

17    newspaper articles on social media?

18          A.    They do, yes.

19          Q.    Do you know whether they monitored the arrest,

20    trial, guilty plea, sentencing?

21          A.    The -- in terms of social media, I have no idea

22    what they do, but oftentimes if there's something in the

23    newspaper or, you know, something on the radio, they would

24    let me know that.      But I subscribe to the newspaper and

25    read it every day, and so I was aware of what was




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 1    for something that the police department said they

 2    couldn't find any merit to it would have changed things if

 3    we investigated a student that had been -- been in her

 4    classroom previously.

 5         Q.    (BY MS. McCORKLE)    But perhaps the police

 6    investigation couldn't locate any information because two

 7    and a half years had elapsed between the incident and the

 8    date that this complaint was made, correct?

 9         A.    I can't say that.    That --

10         Q.    If interviews had been conducted by the District

11    of other teachers, or even of Ms. Anderson herself, or her

12    students, mightn't it have discovered some incidents in

13    which Ms. Anderson was engaged in illegal conduct with a

14    student?

15                     MR. SMITH:    That calls for speculation.

16               You may answer.

17         A.    Obviously, I don't know that answer, but I do

18    know that other teachers were -- were talked to during the

19    original investigation of Anna Anderson.

20         Q.    (BY MS. McCORKLE)    And is that one of the

21    reasons the school district -- I'm sorry?

22         A.    I was going to say that did occur.

23         Q.    And is that one of the reasons the School

24    District chose not to investigate this issue?

25         A.    No, it wasn't -- because it was a legal matter




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 1    that Anna Anderson could have been charged with an

 2    additional crime that we had the -- you know, we reported

 3    to the police department so they could do the

 4    investigation.    Potentially legal matter for -- for a

 5    crime she may have committed.

 6         Q.    Yeah, and I may not have been very clear about

 7    that question.    So was the reason that the District

 8    decided not to conduct an investigation into the basis for

 9    Anna Anderson's arrest based upon law enforcement's

10    interviews of its employees?

11         A.    I don't know how to answer that question.      Law

12    enforcement did the investigation, and we did not want to

13    interfere with their investigation, because they had

14    already conducted one and would, you know, also take a

15    look at this issue.    Because it could be a criminal

16    matter, you don't want to alert people that, you know, if

17    there's another criminal matter that it -- you don't want

18    two different groups looking at it, to me, at the same

19    time, because we could give away what they -- they might

20    try to find information about.     I don't know if that makes

21    sense to you.    Sorry I'm rambling, but --

22         Q.    So let's forget about the 2016 complaint against

23    Ms. Anderson, and let's just focus on the 2014 arrest.

24    When she is -- when she was arrested, it was immediately

25    public knowledge, right?




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 1    be crimes.

 2         Q.      (BY MS. McCORKLE)     Yes.   That's true.   But there

 3    are -- there are issues involving inappropriate teacher-

 4    student boundaries that do not arise to the level of

 5    crimes, correct?

 6         A.      Correct.

 7         Q.      But that can still result in discipline or even

 8    termination of a teacher, correct?

 9         A.      Yes.

10         Q.      Do you know whether Title IX requires that

11    remedial measures be put in place for the victim of

12    harassment or discrimination?

13         A.      Well, we do do that, so -- you know, not because

14    Title IX says to do it, but we will -- we do try to see if

15    there's any assistance we can give any families.

16         Q.      Who's responsible for taking charge of those

17    remedial measures?

18         A.      It would depend on what the circumstances -- and

19    the -- the one case that you referenced earlier -- I'm

20    sorry, I don't know what complaint number it was --

21    regarding students' IEP, it made sense for the special

22    education department from the District level to work with

23    the school staff to make sure that the -- you know, we had

24    something in place that was going to be more workable for

25    the student.        So it would depend on each situation.




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 1        Q.      Can you give me any examples of remedial

 2    measures?

 3        A.      Providing counseling, you know, offering that to

 4    a family, if there was a situation.         Like I said, the --

 5    the special education student example that I gave you.

 6    Students, for example, in bullying issues that have

 7    happened, you know, they develop a plan -- you know, the

 8    school will develop a plan -- you know, safety plan for

 9    the student, you know, where they can go, who they can

10    talk to, if they -- sometimes if the parents are

11    requesting, you know, the student be -- their schedule

12    changed.    It's not going after the victim in this case.

13    We'd still deal with the person, but the student might not

14    feel comfortable after a victim's been -- or after a

15    perpetrator has, you know, been dealt with in a

16    disciplinary manner.     The student's not there, they might

17    not be comfortable with that.      So we meet with parents and

18    we put together plans.      So that would be an example.

19        Q.      Do you know whether any remedial measures were

20    put into place for Gracie Forth?

21        A.      I don't know.

22                      MS. McCORKLE:    Okay.     I -- but if he

23    doesn't, then thank you, Mr. Lyttle.

24                      THE REPORTER:    Melinda, you cut out there.

25                      MS. McCORKLE:    Oh.     I said I don't have any




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                          EXHIBIT 3
                     BALOW DEPOSITION


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    1            IN THE UNITED STATES DISTRICT COURT
    2                  FOR THE DISTRICT OF WYOMING
    3
    4   GRACIE ANN FORTH,     )
                              )
    5              Plaintiff, )
                              )
    6   vs.                   )Civil No. 1:20-cv-00053-ABJ
                              )
    7   LARAMIE COUNTY SCHOOL )
        DISTRICT NO. 1 and    )
    8   John/Jane Does 1-10   )
        in his/her official   )
    9   capacity,             )
                              )
  10              Defendants. )
        ______________________)
  11
  12
  13               ZOOM DEPOSITION OF JOHN CUNNINGHAM
  14
  15           The Zoom deposition of JOHN CUNNINGHAM was
  16    taken by the Plaintiff, pursuant to Notice, on
  17    Wednesday, December 23, 2020, commencing at 10:04
  18    a.m.
  19
  20
  21
  22
  23
  24
  25




                 SUMMIT REPORTING - 307-209-1483
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    1        A    No.
    2        Q    Have you ever testified at trial either as
    3   a party or a witness?
    4        A    I don't remember.
    5        Q    So you may have?
    6        A    I may have, yes.
    7        Q    Have you ever testified -- were you going
    8   to say something?
    9        A    No.
  10         Q    All right.     Have you ever testified in an
  11    administrative hearing?
  12         A    I don't remember.
  13         Q    Okay.   In the last five or 10 years, do
  14    you recall testifying at a trial or administrative
  15    hearing?
  16         A    No.
  17         Q    Have you ever been charged with a crime?
  18         A    Yes.
  19         Q    Can you tell me when that was?
  20         A    Early 1970s.
  21         Q    Okay.
  22         A    I don't remember the date.
  23         Q    All right.     What was the crime?
  24         A    DUI.
  25         Q    All right.     In the last five years, have




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    1        Q    Okay.    Thank you.    At either meeting was
    2   anybody else present?
    3        A    No.
    4        Q    Did you review any documents at these
    5   meetings?
    6        A    No.
    7        Q    Thank you.
    8        A    Oh, I'm sorry.      Could I interrupt?
    9        Q    Yeah.
  10         A    Mr. Capalette (sic) had shared one
  11    document with me that was on the record.
  12         Q    Okay.    Thank you.    Is it the document that
  13    you showed me earlier in the deposition?
  14         A    No, it was a document that was on the --
  15    in the site file at Johnson Junior High.
  16         Q    Okay.    Do you recall what document that
  17    was?
  18         A    It was a document where I had, where I had
  19    documented what I observed.
  20         Q    At a football game?
  21         A    Yes.
  22         Q    All right.     We'll talk about that in a
  23    little bit.       When was the last time you spoke with
  24    Joe Meza, if you recall?
  25         A    I don't remember.      I retired in June of




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    1   exhibit on the screen, it's Exhibit Number 5.
    2   Give me a second.       Do you see this document?        It's
    3   Defendant Laramie County School District's
    4   Responses to Plaintiff's Set of Interrogatories.
    5        A    Yes, I'm looking at the document.
    6        Q    Thank you.     You've never seen this before?
    7        A    No.
    8        Q    Okay.   These are interrogatories that we
    9   received from the School District.           On page 6 it
  10    lists that you were -- I'm sorry.           On page 5 it
  11    lists that you were assistant principal from 2009
  12    to 2015.     Do you believe that's correct?
  13         A    Yes, I believe that's correct.
  14         Q    Thank you.     You mentioned in your
  15    testimony that you were assistant or associate
  16    principal.      Are those one and the same, or is
  17    there a difference?
  18         A    Yes, there is a difference.
  19         Q    Okay.   What is that?
  20         A    An assistant -- I would say if you're
  21    looking at levels, for lack of a better word, it
  22    -- assistant is at the bottom, associate is next
  23    and principal is at the top.
  24         Q    Okay.
  25         A    So I was an assistant and then moved to an




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    1   associate.
    2        Q    All right.     Thank you.    Do you recall how
    3   many years you were assistant principal?
    4        A    No.
    5        Q    Would it have been more than two or less
    6   than two?
    7        A    I'd say two or three and then associate
    8   maybe three or four, I don't know, as close as I
    9   can get.
  10         Q    Thank you.     So when you retired you were
  11    associate principal of Johnson Junior High?
  12         A    Yes.
  13         Q    Thank you.     What were your job duties as
  14    assistant principal?
  15         A    Teacher evaluation, teacher supervision,
  16    student discipline, parent contact.           I supervised
  17    paraprofessionals, attend meetings, anything that
  18    my principal told me to do.
  19         Q    All right.     How about as associate
  20    principal, what were your duties as associate
  21    principal?
  22         A    Probably the same except I also advised
  23    the assistant principal.
  24         Q    Who was the assistant principal that you
  25    were advising?




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    1        A    Tina Hunter.
    2        Q    All right.     Thank you.    When you were
    3   associate or assistant principal, could students
    4   come to you with any complaints about harassment,
    5   discrimination or abuse?
    6        A    Yes.
    7        Q    Do you recall any that come to mind while
    8   you were assistant principal or associate
    9   principal about teacher-on-student discrimination
  10    or harassment or abuse?
  11         A    Not specifically, no.
  12         Q    How about -- why do you clarify it and say
  13    "not specifically"?
  14         A    Because there's -- there are so many
  15    students there that it would be impossible for me
  16    to remember each instance.
  17         Q    Okay.   Well, we can maybe try and narrow
  18    it down for you, but first I want to go over
  19    Exhibit 25 that you have in front of you.             Can you
  20    identify this document for me, please?
  21         A    I'm looking at a Track A Summative
  22    Evaluation for Joe Meza.
  23         Q    Thank you.     Are these the kind of
  24    evaluations that you would fill out as assistant
  25    or associate principal?




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    1   what's written here, that's all I know.
    2        Q    You don't know anything about a running
    3   club?
    4        A    No.     I know it existed, but I don't know
    5   anything about -- that's all I could tell you is
    6   it was a club that the students ran.
    7        Q    Okay.     Was this a school-sanctioned
    8   activity?
    9        A    I don't remember.
  10         Q    How -- if a teacher wanted to start some-
  11    thing like a running club, how would he or she go
  12    about doing that?
  13         A    They would communicate with an
  14    administrator and let them know what their plan
  15    was, then get students to join the club.
  16         Q    Were these clubs -- how are they
  17    supervised or observed by the school district?
  18         A    I don't remember.
  19         Q    What school clubs did you personally
  20    supervise or observe?
  21         A    There's an art club, student council,
  22    honor society, that's all I can remember.
  23         Q    And how would you supervise these clubs?
  24         A    Let me back up.      Can I back up?
  25         Q    That'd be great.




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    1        A    I wouldn't say that they were actively
    2   supervised.       In the example of a student council I
    3   was aware that they were -- as an example of a
    4   student honor society, I was aware that the club
    5   existed, but I didn't actively -- I don't know
    6   that an administrator actively supervised each
    7   club.
    8        Q    Okay.    So for example the running club, is
    9   the administration just assuming that students
  10    will be safe in these clubs?
  11              MR. COPPEDE:     Sorry.    Re-ask the question,
  12    Anna.    What was the question?        I didn't hear.
  13              MS. OLSON:     Could you please read it back
  14    for me, Jeannie.
  15                          (The requested testimony was
  16                           read back.)
  17         A    As the -- as a certified teacher who is
  18    running the club, I would say that the teacher or
  19    coach is certified to coach so the assumption is
  20    that the students would be safe.
  21         Q    So is there any oversight or controls with
  22    regard to -- or, do you know of any oversight or
  23    controls with regard to the running club that Mr.
  24    Meza was -- had organized?
  25         A    Would you say the question again?




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    1             MS. OLSON:     Yeah, could you please read it
    2   back for me, Jeannie.
    3                         (The requested testimony was
    4                          read back.)
    5             THE WITNESS:     I don't remember.
    6        Q    If he did have -- if there was any over-
    7   sight or controls, where would -- would that be
    8   documented?
    9        A    I don't know.
  10         Q    Would it be documented anywhere?          Would it
  11    be in a file somewhere?
  12         A    Just the specifics of oversight?
  13         Q    Yes.
  14         A    I don't know.
  15         Q    Okay.   If Mr. Meza wanted to take students
  16    out of town for overnight trips on his running
  17    club, how would he get approval to do that?
  18         A    I don't remember.
  19         Q    Do you recall any instance where a teacher
  20    wanted to take a student out of town?            Do you
  21    recall any instance?
  22         A    I don't remember.
  23         Q    So it might have happened, you just don't
  24    remember?
  25              MR. COPPEDE:     Objection to speculation.




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    1        A    You mean any teacher taking any student
    2   out of town during the course of my career?
    3        Q    Let's say when you were assistant or
    4   associate principal, do you recall any teacher
    5   taking a student out of town for an overnight trip
    6   perhaps with regard to a running club or any of
    7   the clubs?
    8        A    I don't remember.
    9        Q    If the teacher wanted to take a student
  10    out of town, just a teacher and student, would he
  11    have to seek approval from the School District
  12    first?
  13         A    Yes.
  14         Q    Do you know if Mr. Meza received any
  15    approvals to take Gracie Forth on overnight trips
  16    for the running club?
  17         A    I do not know.
  18         Q    Would you have wanted to know that?
  19         A    I don't remember.      You need to back up a
  20    little bit.      Would I have wanted to know if he
  21    wanted to?
  22         Q    If he was taking a student out of town on
  23    an overnight trip for the running club.
  24         A    Would I have wanted to know?
  25         Q    Yes.




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    1        A    Yes.
    2        Q    Thank you.     Do you just trust he'll let
    3   you know if he's taking a student out of town?
    4        A    Yes.
    5        Q    Are these clubs school-financed?
    6        A    Yes.
    7        Q    How does the financing work for these
    8   school clubs?
    9        A    I, I do not remember.
  10         Q    Is there -- does the teacher submit a
  11    proposed budget?
  12         A    I don't -- yes, I'm sure there's a budget;
  13    I don't know any of the specifics.
  14         Q    Where would that be held?
  15         A    Where would the budget be held?
  16         Q    Yes, contained within the School District.
  17         A    I don't know.
  18         Q    Next in the document I would like you to
  19    look at page 00244.
  20              MR. COPPEDE:     I'm sorry, Anna, what page
  21    again, please?
  22              MS. OLSON:     00244.
  23              MR. COPPEDE:     Thank you.
  24              MS. OLSON:     You're welcome.
  25         A    Okay.




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    1        Q    And 00245.     Do you see that?
    2        A    Yes.
    3        Q    What is this document?
    4        A    It's a Track A Summative teacher
    5   Evaluation.
    6        Q    Of whom?
    7        A    Joe Meza.
    8        Q    And the signature on the next page, is
    9   that your signature?
  10         A    Yes.
  11         Q    Did you perform this evaluation?
  12         A    Yes.
  13         Q    Thank you.     On page 245, you can take time
  14    to read this paragraph, I have some questions
  15    about it.
  16              MR. COPPEDE:      Anna, would it be a good
  17    idea to take a minute or two while we review it,
  18    please?
  19              MS. OLSON:     Sure.
  20              MR. COPPEDE:      Thank you.
  21                          (There was a brief recess taken.)
  22              THE WITNESS:      Okay.
  23    (Direct Examination by Ms. Olson)
  24         Q    One of the questions I have, Mr.
  25    Cunningham, is in about the top third of this




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    1   narrative there's a sentence that says, "One of
    2   Mr. Meza's strengths is his ability to challenge
    3   students cognitively through engaging learning
    4   activities."       How do you recall that Mr. Meza
    5   would do that?
    6        A    I just don't remember.
    7        Q    Okay.    When you say in the next sentence
    8   "Observing in the classroom it is apparent Mr.
    9   Meza genuinely cares about his students and treats
  10    them with respect," how often would you observe
  11    Mr. Meza in the classroom?
  12         A    How often did I observe Mr. Meza?
  13         Q    Yes --
  14         A    I don't remember.
  15         Q    -- in the classroom.
  16         A    You mean for the purpose of this
  17    evaluation?
  18         Q    Just in general.
  19         A    Or do you mean on a daily/weekly basis?
  20         Q    Daily/weekly basis.
  21         A    I don't remember.
  22         Q    How often would you have to observe him
  23    for this evaluation?
  24         A    Well, to write this evaluation I would
  25    have been in -- I would have needed to have been




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    1   in his classroom multiple times; I don't remember
    2   how many times I was in his classroom.
    3        Q    Multiple times, is that more or less than
    4   10 times?
    5        A    I don't remember.
    6        Q    I don't need a specific date, but if you
    7   could generalize it for me, I'm just trying to
    8   understand how these evaluations are created and
    9   how often you would need to observe a teacher to
  10    determine if he genuinely cares about his students
  11    and treats them with respect?
  12         A    There are many times.       I don't remember
  13    specifically which dates I was in his room, and I
  14    can't remember the specific times a week I was in
  15    his room.
  16         Q    I'm not asking for specifics or specific
  17    dates, just an estimation of how many times you
  18    would need to observe a teacher in order to make
  19    this kind of statement?
  20         A    My estimate -- opinion estimate would be
  21    once a week, but that's an opinion estimate.
  22         Q    How many times once a week?
  23         A    Once a week what?
  24         Q    For how long?
  25         A    Anytime that an administrator is in a




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    1   students at multiple times outside the school
    2   day."    Tell me about that.
    3        A    If a student needed help and requested to
    4   see him before school started on that school day
    5   or when school was over at that school day -- on
    6   that particular school day, he would make himself
    7   available before or after school if the student
    8   needed extra help with their math.
    9        Q    Okay.   And you personally observed that?
  10         A    Yes.
  11         Q    How often would you observe his classroom
  12    before school started?
  13         A    I don't remember.
  14         Q    How about after school was over?
  15         A    I don't remember.
  16         Q    In this 2015 timeframe during this
  17    evaluation, did you ever see Gracie Forth in his
  18    classroom before school started?
  19         A    I don't remember.
  20         Q    How about at lunchtime?
  21         A    I don't remember.
  22         Q    Or after school?
  23         A    I don't remember.
  24         Q    When you say that he would be willing to
  25    meet with these students before or after school,




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    1   do you recall how many occasions you witnessed
    2   that?
    3        A    I don't remember.
    4        Q    Would it be more or less than five, do you
    5   think?
    6        A    Over the course of a school year?
    7        Q    Let's just, let's just focus on 2015.
    8        A    In a school year I would say more than
    9   five.
  10         Q    Okay.     Where was your office in relation
  11    to his classroom?
  12         A    His classroom was on the second floor, and
  13    my office was on the main floor.
  14         Q    So would there be any reason that you
  15    would just happen to walk by his classroom if
  16    you're on separate floors in different locations?
  17         A    You mean was there a time when I was on
  18    the second floor during the school day?            Is that
  19    what you're asking?
  20         Q    No, no.     So if your office is not located
  21    on the same floor as his classroom, for instance
  22    you wouldn't need to walk by his classroom to get
  23    to your office, correct?
  24         A    I may have been in a different location on
  25    the second floor where I would need to walk by his




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    1        A    No.
    2        Q    Okay.
    3        A    Can I back up a little bit?
    4        Q    Yeah.
    5        A    When you asked me about a teacher being in
    6   the classroom with a student with the door closed,
    7   we routinely told our teachers that was not a good
    8   idea.
    9        Q    Okay.    So why isn't it a good idea?
  10         A    Because you may have a situation where if
  11    the teacher can't be observed with a student -- I
  12    can't answer the question.          I don't, I don't have
  13    -- I don't know.       It seems like we would have said
  14    that's not a good idea.
  15         Q    Okay.    Did you ever tell Mr. Meza that was
  16    not a good idea?
  17         A    I don't remember.
  18         Q    So if he's in the classroom and the door
  19    is closed and he's in there with his student, why
  20    would you not interrupt that conversation?
  21         A    I don't know.
  22         Q    Okay.    The next questions I have for you
  23    are on another evaluation.          Would you turn to page
  24    246.     This is an evaluation dated November 26,
  25    2013.     Did you perform this evaluation?




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    1        A    Yes.
    2        Q    And this is of Mr. Meza, correct?
    3        A    Yes.
    4        Q    All right.     There's a little narrative on
    5   page 247.     I have some questions about that, but
    6   why don't you read it and let me know when you're
    7   ready.
    8        A    Okay.
    9        Q    Thank you.     Down towards the end of this
  10    paragraph there's a statement, it says, "Parent
  11    communication is frequent and successful."             Tell
  12    me about that.
  13         A    Teacher is obligated to communicate with
  14    parents about how the particular student is doing
  15    in class.
  16         Q    How did you know that Mr. Meza's
  17    communication with parents was frequent and
  18    successful?
  19         A    Teachers kept a communication log.
  20         Q    Where is this log kept?
  21         A    It'd be on a site file, but the teacher --
  22    teachers traditionally kept a log of their parent
  23    contacts, but it was a personal log so I don't
  24    know where this log would be today if that's your
  25    question.




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    1        Q    What is the site file?
    2        A    A site file is where all the teacher
    3   evaluations are kept or documents that need to be
    4   kept on file about a teacher.
    5        Q    All right.     So this site file would have
    6   the communication log as far as you know?
    7        A    No, it would not.
    8        Q    Oh, okay.    So tell me, then, while you
    9   were there, where would the communication log be
  10    kept?
  11         A    The teacher would keep the communication
  12    log.
  13         Q    Okay.
  14         A    The teacher was documenting phone calls or
  15    meetings with parents, so the teacher would have
  16    the contact log.
  17         Q    And this contact log, is it -- are the
  18    teachers required to keep it or can they throw it
  19    away?
  20         A    They're not required to keep it.
  21         Q    Okay.    So did you review his communication
  22    log before you wrote this statement?
  23         A    Yes.    The teachers that are on a Track A,
  24    Track A Summative Evaluation are required to have
  25    a communication log so an administrator will look




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    1   question about is on 00258.          Could you please tell
    2   me what this document is?
    3             MR. COPPEDE:     What page was it, Anna?
    4             MS. OLSON:     00258.
    5             MR. COPPEDE:     258?
    6             MS. OLSON:     Yes.
    7             MR. COPPEDE:     Is that Exhibit 25?
    8             MS. OLSON:     Yes.     It should be the last
    9   page of 25.
  10              MR. COPPEDE:     Oh, I see it.      Thank you.
  11              MS. OLSON:     You're welcome.
  12              THE WITNESS:     Okay, I see it.
  13         Q    Okay.   What is this document?
  14         A    If a coach -- if we need a new coach for
  15    any reason, we have to submit this Vacancy
  16    Approval Form.
  17         Q    All right.     And is this in your hand-
  18    writing?
  19         A    Yes.
  20         Q    Okay.   So you filled out this form?
  21         A    Yes.
  22         Q    Do you recall Mr. Meza asking to be cross
  23    country assistant coach?
  24         A    I do not remember.
  25         Q    Would he have come to you to ask about




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    1   this or --
    2        A    He would have put his name -- he would
    3   have put his name on some sort of document stating
    4   that he was interested in the position.
    5        Q    All right.     Is he interviewed for this
    6   position before he's given it?
    7        A    Yes.
    8        Q    Did you interview him?
    9        A    I don't remember.
  10         Q    So it says for the Rationale for this
  11    position, it says, "Robyn Ramirez will no longer
  12    be assistant coach per HR."         Who's Robyn Ramirez?
  13         A    I do not remember.
  14         Q    Do you remember why she will no longer be
  15    assistant coach?
  16         A    I do not remember.
  17         Q    All right.     So the other question I have
  18    about this document is that it's received August
  19    7, 2014.     Is that right before the cross country
  20    season begins?
  21         A    I don't remember if cross country is a
  22    fall sport or a spring sport.
  23         Q    All right.     I have some questions about
  24    teacher attendance.       If a teacher misses a day or
  25    is absent either for vacation or sick leave, where




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    1   would that information be recorded?
    2        A    The site file for the -- and the district
    3   HR file -- no, let's just say the site file.
    4        Q    Do you recall how many sick days a teacher
    5   is allowed to have?
    6        A    No.
    7        Q    All right.     While you were assistant or
    8   associate principal at Johnson, did you ever
    9   conduct any investigations about teacher-student
  10    harassment or abuse?
  11         A    Can you rephrase that so -- do you mean to
  12    say if a student came to me and thought a teacher
  13    was being unfair?
  14         Q    No.    Did you -- whether the student came
  15    to you, or however you received information, did
  16    you ever do an investigation regarding teacher-
  17    student inappropriate boundaries?
  18         A    Yes.
  19         Q    How many investigations did you do?
  20         A    I don't remember.
  21         Q    All right.     I want to go over the
  22    investigations you do remember.            Tell me about the
  23    first one.
  24         A    Well, obviously I need to leave the names
  25    off.




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    1        Q    Right.
    2        A    I conducted an investigation -- I assisted
    3   in conducting an investigation of a teacher that
    4   we suspected was having an inappropriate --
    5   communicating with the student inappropriately.
    6        Q    Can you give me the gender of the teacher?
    7        A    Female.
    8        Q    And was the student a male?
    9        A    Yes.
  10         Q    Do you remember what year this was?
  11         A    No.
  12         Q    Do you recall if you were associate or
  13    assistant principal at the time?
  14         A    No.
  15         Q    What were the nature of the inappropriate
  16    communications?
  17         A    I don't remember.
  18         Q    Was it text messaging?
  19         A    I don't remember.
  20         Q    What happened with the teacher?
  21         A    I don't remember.
  22         Q    What were the results of your
  23    investigations?      Were the allegations
  24    substantiated?
  25         A    Yes.




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    1        Q    And you don't recall if this teacher was
    2   disciplined?
    3        A    I don't remember what the final outcome of
    4   that investigation was.
    5        Q    How did you receive information about this
    6   inappropriate communication?
    7        A    I don't remember.
    8        Q    Okay.   So this was the first investigation
    9   you did.     What were the steps you took in your
  10    investigation?      How did you investigate this case?
  11         A    Interviewed the student, interviewed the
  12    teacher.
  13         Q    Anything else?
  14         A    Not that I remember.
  15         Q    How about your second investigation, what
  16    happened?
  17         A    I don't remember doing -- I don't remember
  18    participating in more than that one.
  19         Q    All right.     Did you ever, while you were
  20    at Johnson Junior High, not do an investigation
  21    but suspect inappropriate teacher-student
  22    boundaries?
  23         A    Did I ever suspect?
  24         Q    Yes.
  25         A    I don't remember.




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    1        Q    Okay.   If you did suspect inappropriate
    2   teacher-student boundaries, what would you do
    3   about it?
    4        A    I would communicate with my head principal
    5   and ask him what steps to take.
    6        Q    Okay.   Do you recall ever doing those?
    7        A    Just with the one that I had mentioned
    8   previously.
    9        Q    Did you receive any training on how to
  10    perform an investigation?
  11         A    I don't remember.
  12         Q    What's the purpose of performing an
  13    investigation?
  14         A    I don't know.
  15         Q    Okay.   And I might have already asked
  16    this, I just want to make sure we're perfectly
  17    clear.    Do you remember any other inappropriate
  18    relationships between a teacher and a student
  19    while you were at Johnson?
  20         A    I don't remember.
  21         Q    Okay.   Could you tell me, what is
  22    grooming?
  23         A    Grooming is, grooming is where an adult
  24    becomes close to a young person.           That's all I
  25    got.




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    1        Q    What are some indications of grooming?
    2        A    If the student or parent would come to a
    3   person of authority and express a concern.
    4        Q    Now what are some ways a predator can
    5   groom a victim?
    6             MR. COPPEDE:     I guess I have to object as
    7   it calls for speculation.
    8        Q    You can go ahead and answer.
    9        A    I don't know.
  10         Q    Okay.   How about paying specific attention
  11    to one student, could that be an indication of
  12    grooming?
  13         A    Teachers need to pay attention to students
  14    all the time.      I'm not real sure about the
  15    question.     If a teacher is -- when you phrase it
  16    as paying attention to a student, a teacher could
  17    be paying attention to a student about their
  18    schoolwork, about --
  19         Q    Okay.
  20         A    Trying to communicate with the student
  21    about good job on the basketball game.            Those -- I
  22    guess the question is -- I'm not real -- I'm not
  23    sure.
  24         Q    Could texting a student be an indication
  25    of grooming?




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    1        A    It could be.
    2        Q    Could issuing frequent passes to a
    3   particular student be a sign of grooming?
    4        A    It could be.
    5        Q    Could being in the classroom with the door
    6   closed with the student be an indication of
    7   grooming?
    8        A    It could be.
    9        Q    Taking a student out of town overnight,
  10    could that be an indication of grooming?
  11         A    It could be.
  12         Q    Could grooming occur under the guise of
  13    tutoring or mentoring?
  14         A    It could.
  15         Q    Thank you.     What's an environmental scan?
  16         A    What?
  17         Q    What is an environmental scan?
  18         A    I don't know.
  19         Q    All right.     How would you tell the
  20    difference between grooming and just being an
  21    educator to a student?
  22         A    I don't know.
  23         Q    Okay.   Would it be appropriate for a
  24    teacher to share a drink with a student?
  25         A    You mean like a, like a bottle of water?




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    1        Q    Sure, or a Coke.
    2        A    No, I would just be concerned about germs.
    3        Q    Any other reason to be concerned?
    4        A    No.
    5        Q    At Johnson Junior High, was there such a
    6   thing as a permanent pass?
    7        A    Yes.
    8        Q    What is a permanent pass?
    9        A    A permanent pass was if a student needed
  10    to see a teacher on a regular basis but the
  11    teacher couldn't fill one out every single time,
  12    then the student would receive a permanent pass.
  13         Q    Would the issuing of a permanent pass be
  14    an indication of grooming?
  15         A    Could be.
  16         Q    Would these permanent passes need any
  17    special approval by the administration?
  18         A    No.
  19         Q    So it's teacher discretion?
  20         A    Yes.
  21         Q    What did these passes look like?
  22         A    I don't remember.
  23         Q    Okay.   Would it be appropriate for a
  24    student to be in a teacher's classroom if that
  25    student was not enrolled in that teacher's class?




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    1        A    It could be.
    2        Q    Under what circumstances?
    3        A    An example might be if the student had had
    4   that teacher before and the teacher -- the student
    5   stopped in to say hi because they knew the teacher
    6   from a previous class.        That's just an example I
    7   guess.
    8        Q    What about during instruction time, would
    9   it be appropriate to have a student who's not
  10    enrolled in that class be in that teacher's
  11    classroom?
  12         A    No.
  13         Q    Would a permanent pass -- could that be
  14    issued for a student who's not enrolled in that
  15    teacher's class?
  16         A    It could.
  17         Q    And what would the reasoning for that be
  18    if you're not enrolled in that teacher's class?
  19         A    If the teachers had communicated and said
  20    -- if one social studies teacher said to another
  21    social studies teacher, maybe, "Could you please
  22    help this student with their work?" and those two
  23    teachers were communicating about just getting
  24    that student as much help as possible.
  25         Q    All right.     Do you recall -- well, would




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    1   it be appropriate for a student to attend
    2   professional development days with a teacher?
    3        A    No.
    4        Q    Why wouldn't that be appropriate?
    5        A    Because the teachers -- typically the
    6   teachers professional development, it's only set
    7   up for teachers.
    8        Q    Would that be an indication of grooming if
    9   a teacher brought a student to a professional
  10    development day?
  11         A    It could.
  12         Q    I'd like to talk about a teacher named
  13    Shannon Hall.      Do you know Shannon Hall?
  14         A    Yes.
  15         Q    When was the last time you spoke to her?
  16         A    Oh, maybe six months -- I'm guessing.              Six
  17    months ago maybe, I don't remember.
  18         Q    What was the reason for that?
  19         A    My wife is friends with Shannon Hall.
  20         Q    Oh, I see.     Okay.    And Shannon Hall is a
  21    teacher at Johnson Junior High, correct?
  22         A    Yes.
  23         Q    Do you find her to be a trustworthy
  24    person?
  25         A    Yes.




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    1        Q    Is she -- while you were there, was she a
    2   good employee?
    3        A    Yes.
    4        Q    Did you know that she gave a deposition in
    5   this case?
    6        A    Yes.
    7        Q    How did you know that?
    8        A    I think John may have said that she did.
    9   I can't -- I'm not, I'm not sure.
  10         Q    Okay.   I'll represent to you -- well, have
  11    you reviewed her deposition?
  12         A    No.
  13         Q    Okay.   I'll represent to you, in her
  14    deposition she used to socialize with Mr. Meza and
  15    Melinda Mazzone until she found out they were
  16    having a lot of students go to their rooms when
  17    those students were not enrolled in their classes,
  18    and she did not feel that was appropriate.             Did
  19    you ever hear about that or know anything about
  20    that?
  21         A    She spoke to me about that.
  22         Q    When did she speak to you about that?
  23         A    I don't remember.      At some point in time
  24    when we were at Johnson Junior High together.
  25         Q    What did she say, if you recall?




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    1        A    I don't remember what she said.          I
    2   remember the context was she was frustrated that
    3   students were going to those classes.            I don't --
    4   it's not -- I don't really remember.           I remember
    5   her frustration, that's all I remember, but I
    6   don't remember any specifics.
    7        Q    Do you remember how many times she
    8   complained to you about that?
    9        A    No, I don't remember.
  10         Q    Could it have been more than once?
  11         A    It could have been.
  12         Q    Did you do anything about it?
  13         A    No, I just heard what she had to say.
  14         Q    Okay.   Did you make any notes?
  15         A    I don't remember.
  16         Q    All right.     Ms. Hall also testified that
  17    in the fall of 2014, this is when Gracie would
  18    have been an eighth-grade student, that Meza came
  19    to her and told her she needed to allow Gracie to
  20    come to his classroom whenever she wanted, and
  21    when she told him no he puffed up and she felt a
  22    little threatened.
  23         A    You're cutting out on me.        Can you please
  24    start that sentence over again.
  25                          (The requested testimony was




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    1                           read back.)
    2         Q   And Ms. Hall felt threatened when she told
    3   Mr. Meza no, she wasn't going to allow Gracie to
    4   go to his classroom whenever Gracie wanted.             She
    5   indicated she reported this to the administration.
    6   Do you recall this?
    7         A   No.
    8         Q   If this happened, should this have been
    9   documented anywhere?
  10          A   By Ms. Hall?
  11          Q   Or by the administration when she reported
  12    it.
  13          A   If it was reported to an administrator, it
  14    should be documented.
  15          Q   Okay.    Well, when she reported that she
  16    thought it was inappropriate that students were
  17    going to Meza and Mazzone's classrooms, was that
  18    documented?
  19          A   I don't remember.       There's three, three
  20    administrators there.
  21          Q   All right.     Ms. Hall testified in her
  22    deposition that before school there would be a
  23    group of girls in Mr. Meza's classroom.            Did you
  24    know about that?
  25          A   No.




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    1   and she reported that.        Do you recall that?
    2        A    I don't remember that.
    3        Q    Okay.     Did you ever keep any notes or
    4   documentation about Mr. Meza other than what is in
    5   his employment file?
    6        A    No.     Besides the note I made about the
    7   football game, no.
    8        Q    All right.     I'd like to talk -- when was
    9   the first time you met Mr. Meza?
  10         A    I don't remember, I don't remember the
  11    year.
  12         Q    Did you know him before he applied for --
  13    to be a teacher?
  14         A    No.
  15         Q    What were your initial impressions of him?
  16         A    You mean when I first met him?
  17         Q    Yes.
  18         A    He seemed like a friendly, young man,
  19    seemed like a friendly teacher, friendly person to
  20    be around.       I mean just like the first -- the very
  21    first time I met him?
  22         Q    Or just when you're getting to know him,
  23    just your initial impressions.
  24         A    He seemed like he would be a good teacher.
  25         Q    Okay.     Did you conduct any reference




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    1   checks?
    2        A    I don't remember.       The -- an, an
    3   administrator would contact references before
    4   somebody -- before a teacher is hired, but I don't
    5   remember if it was me.
    6             MS. OLSON:     All right.     Would anybody mind
    7   if we took a 10-minute break just so I can get a
    8   little more water?
    9             MR. COPPEDE:      I don't mind, I think that's
  10    a good idea.
  11              MS. OLSON:     Great.    Why don't we meet back
  12    here at 11:45.
  13                          (There was a recess taken.)
  14    (Direct Examination by Ms. Olson)
  15         Q    I'm going to show you a document here on
  16    my screen.       Do you see this document?
  17         A    Yes.
  18         Q    And what is this?
  19         A    The, the video of all of our faces is --
  20    covers up a little bit of it.          There we go.     Thank
  21    you.
  22         Q    Yes.
  23         A    That was my documentation of something I
  24    observed.
  25         Q    Okay.    Do you remember this incident?




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    1        A    Yes.
    2        Q    So you start by saying, "At a football
    3   game on 9/26, I observed a number of seventh grade
    4   girls sitting with Mr. Meza.         One of the girls had
    5   her arm around Mr. Meza and was continually
    6   touching his face and neck."         Do you recall, do
    7   you recall this young lady who was doing this?
    8        A    No.
    9        Q    Okay.
  10         A    You mean her name?
  11         Q    Or just recall this young lady, if you saw
  12    her on street, who she was.
  13         A    No, I do not.
  14         Q    Okay.   "One of the girls had her arm
  15    around Mr. Meza and was...touching his face and
  16    neck."    What did you observe her doing?          How long
  17    was this going on?       Tell me the circumstances.
  18         A    Well, I guess just what I'm reading, I
  19    don't remember, I don't remember an amount of time
  20    that it occurred.       I do not remember.
  21         Q    What do you remember witnessing?
  22         A    Just what I have written there.
  23              MS. OLSON:     Okay.   Can you hold on one
  24    second, I need to grab my assistant.
  25                          (There was a brief recess taken.)




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    1   (Direct Examination by Ms. Olson)
    2        Q    "I met with Mr. Meza on 9/27 and informed
    3   him that this was inappropriate and give him
    4   suggestions on how to communicate with students
    5   about the need for boundaries and personal space."
    6   What do you recall about this meeting?
    7        A    Only what I have written, only what --
    8   only what we're both looking at.
    9        Q    Okay.   Why was this incident concerning to
  10    you?
  11         A    Because a teacher should not -- a teacher
  12    should have boundaries with students and students
  13    shouldn't be touching a teacher in this manner.
  14         Q    What did he say when you told him it was
  15    inappropriate?
  16         A    I do not remember, all I remember is what
  17    I've documented, that he was amenable to my
  18    suggestions and he apologized.             I don't remember
  19    what he said.
  20         Q    Do you recall what your suggestions were?
  21         A    I do not remember.
  22         Q    Okay.   Did you talk to Mr. Balow or Ms.
  23    Hunter about this incident?
  24         A    Yes.
  25         Q    What do you recall about that




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    1   conversation?
    2        A    I do not remember.
    3        Q    Do you recall what they said to you?
    4        A    I do not remember.
    5        Q    Do you recall --
    6        A    I just remember just informing Mr. Balow,
    7   but I don't remember specifically what we said to
    8   each other.
    9        Q    You don't need to remember specifically,
  10    but if you remember the conversation in general.
  11         A    No, I do not remember.       I would have
  12    communicated with him about this and informed him
  13    what happened, but I do not remember what we said
  14    back and forth to each other.
  15         Q    All right.     Do you recall any other
  16    instances like this regarding Mr. Meza?
  17         A    No.
  18         Q    Do you recall him being close with just
  19    one female student?
  20         A    No.
  21         Q    Okay.   Or anyone coming to you with
  22    concerns about his relationship with any female
  23    students?
  24         A    No.
  25         Q    Okay.   I'm going to show you another




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    1             MS. OLSON:     Okay.    I might almost be done,
    2   I would just like 10 minutes to just look over my
    3   notes.
    4             MR. COPPEDE:      Okay, sure, you bet.
    5                         (There was a recess taken.)
    6             MS. OLSON:     I think we can go back on the
    7   record.     I just have a few more questions.
    8   (Direct Examination by Ms. Olson)
    9        Q    When you said, Mr. Cunningham, that you
  10    told teachers not to transport students, why, why
  11    did you tell them not to do that?
  12         A    I probably would have investigated that
  13    and determined that that was District policy.
  14         Q    But why, if you know, would it be District
  15    policy to not transport students?
  16         A    Well, a teacher could get in an accident
  17    with a student, get in an accident in their car,
  18    the District would be liable; something
  19    inappropriate may happen in a car.           There's just a
  20    multitude of reasons that it's not a good idea.
  21         Q    With regard to Exhibit 9, the
  22    documentation about the football game --
  23         A    Yes.
  24         Q    -- did you put that in Mr. Meza's site
  25    file?




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    1         A   Yes.
    2         Q   Did it go in the site file and then did
    3   you also send it to HR?
    4         A   I don't remember.
    5         Q   Okay.    Did you have your, your own file,
    6   or was it just the school's file?
    7         A   Just the school's site file kept in a
    8   separate office.
    9         Q   Okay.    And then there is another file at
  10    HR; is that correct?
  11          A   Yes.
  12              MR. COPPEDE:      Objection, foundation.
  13          Q   Okay.    Who's responsible for sending
  14    documents to the file at HR?
  15          A   I don't remember.       We had a secretary
  16    there at Johnson who transferred some documents to
  17    HR like evaluations.        I don't remember
  18    specifically whose responsibility that was,
  19    whether it was the administrator or the office
  20    secretary in charge of those files.
  21          Q   Why would a particular document be sent to
  22    HR?
  23          A   I don't know.
  24              MS. OLSON:     Okay.    Those are all of my
  25    questions, Mr. Coppede might have some questions




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                                                                    Exhibit 5
Forth v. LCSD No. 1                                             1:20-CV-00053-ABJ

                                                                                1
  1                     IN THE UNITED STATES DISTRICT COURT
  2                          FOR THE DISTRICT OF WYOMING
  3     ---------------------------------------------------------
        GRACIE ANN FORTH,
  4
                            Plaintiff,
  5
                      vs.                   Case No. 1:20-CV-00053-ABJ
  6
        LARAMIE COUNTY SCHOOL
  7     DISTRICT NO. 1 and
        John/Jane Does 1-10 in
  8     his/her official capacity,
  9                  Defendants.
        ---------------------------------------------------------
 10
 11
                VIDEOCONFERENCE DEPOSITION OF PHILIP J. VIGIL
 12                      Taken in behalf of Plaintiff
 13                                 1:00 p.m., Tuesday
                                     January 26, 2021
 14
 15                   PURSUANT TO NOTICE, the videoconference
 16     deposition of PHILIP J. VIGIL was taken in accordance
 17     with the applicable Federal Rules of Civil Procedure
 18     before Randy A. Hatlestad, a Registered Merit Reporter
 19     and a Notary Public in and for the State of Wyoming.
 20
 21
 22
 23
 24
 25


                              Wyoming Reporting Service, Inc.
                                    1.800.444.2826
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Forth v. LCSD No. 1                                                                                  1:20-CV-00053-ABJ
                                                              7                                                                9
  1       A. Johnson Junior High.                                   1      A. At Johnson?
  2       Q. Have you been at Johnson since graduating from         2      Q. Yes.
  3    University of Wyoming?                                       3      A. Just the one.
  4       A. Since 1995, yeah.                                      4      Q. How long was the interview? Do you know?
  5       Q. Do you enjoy it?                                       5      A. Usually they last an hour.
  6       A. I did.                                                 6      Q. Did you call any of his references?
  7       Q. Until today?                                           7      A. That wouldn't be my job to do. That would be
  8       A. Until I had to give a deposition. Yeah. Yeah,          8   administration's job. So, no.
  9    I do.                                                        9      Q. Did you review any of his references that came
 10       Q. Good. So did you start -- are you in the same         10   to the school?
 11    position as you were in 1995, or have you been promoted?    11      A. No.
 12       A. Yeah. When I first started in 1995 in social          12      Q. So your job -- well, tell me, what is your job
 13    studies, i was teaching U.S. history. But for the last      13   as part of the interview team?
 14    20 years, I've been teaching world geography.               14      A. You're given about fifteen questions. And if
 15       Q. Do you hold any administrative positions in the       15   there's three people on the interview team, then you just
 16    school district?                                            16   kind of divide the questions up. You ask the questions.
 17       A. No.                                                   17   You rank the questions and the answers. And then at the
 18       Q. Always teacher?                                       18   end, you just kind of decide who the best candidate is
 19       A. Teacher.                                              19   after you meet with everybody, everybody on the interview
 20       Q. Tell me, when was the first time you met              20   team. The interview team, sometimes there's three
 21    Mr. Meza?                                                   21   people. Sometimes there's four. Sometimes there's five.
 22       A. I knew Mr. Meza when he was a student at              22   All of them include an administrator and the interview
 23    Johnson Junior High School and I was teaching there.        23   team.
 24       Q. Any issues with him when he was a student at          24      Q. Do you recall who the administrator would have
 25    Johnson Junior High?                                        25   been on this team?


                                                              8                                                              10
  1       A. I didn't have him in class. I just knew of             1      A. I don't. I'm sorry. I don't.
  2    him. No issues.                                              2      Q. Maybe Tina Hunter or Mr. Balow?
  3       Q. That you know of?                                      3      A. I couldn't tell you. I mean, they were
  4       A. That I know of, yeah.                                  4   administrators at the time. But I don't remember.
  5       Q. All right. Did you meet him again when he came         5      Q. But there's always an administrator there?
  6    back as a teacher?                                           6      A. Always an administrator there.
  7       A. Oh, yeah.                                              7      Q. Any other tasks with being on the interview
  8       Q. Would that have been in approximately 2012?            8   team?
  9       A. Probably around that time, yeah. 2012, '11.            9      A. No.
 10       Q. What were your initial impressions of him when        10      Q. Okay. Thank you. So, when you interviewed him
 11    he came back as a teacher?                                  11   and you met him, he seemed positive, straightforward, a
 12       A. My initial impressions of him?                        12   good fit for the students. Anything else?
 13       Q. Yes.                                                  13      A. No.
 14       A. Straightforward, positive. Let's see. He              14      Q. Did your initial impression of him change over
 15    seemed like he would be good for the kids here at Johnson   15   time?
 16    Junior High. I was actually on the interview team that      16      A. Not at all.
 17    hired him.                                                  17      Q. Is it the same with him today?
 18       Q. Tell me about that interview team. Who else           18      A. My impressions of him today?
 19    was on it?                                                  19      Q. Yes.
 20       A. I wouldn't be able to tell you. I can't               20      A. You mean as a person? As a teacher? What do
 21    remember. Maybe -- it's been so long ago. I've been on      21   you mean?
 22    several interviews. I really don't know.                    22      Q. Let's do both. So, as a teacher, when he's
 23       Q. It's hard to remember. It was a long time ago.        23   hired in 2012, he seems like a good teacher, positive.
 24       A. Yeah. It was way back in 2012, yeah.                  24   Did that impression change between 2012 and 2017?
 25       Q. How many interviews did he have?                      25      A. Not at all.


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                                                        31                                                                33
  1       Q. This is the first time today you're hearing        1      A. It was concerning to me. I mean, it wasn't
  2    that?                                                    2   concerning to me. I just thought it was unusual.
  3       A. This is the first time I'm hearing that one,       3      Q. Why isn't it concerning?
  4    yeah.                                                    4      A. It probably was at the time. I mean, it could
  5       Q. I might have already asked you this. I just        5   have been. It wasn't unusual because of the relationship
  6    want to be abundantly clear. Did you ever suspect any    6   that they had, that you see them all the time together.
  7    appropriate relationship at all between Mr. Meza and     7   And as a matter of fact, I thought there might have been
  8    Gracie while he was a teacher there?                     8   other students on that trip.
  9       A. Suspect any -- say that again one more time.       9      Q. So you said you saw them all the time together.
 10       Q. Inappropriate relationship.                       10   Tell me what you mean by that.
 11       A. Did I suspect it? Inappropriate? I would say      11      A. Just running, their running club. They were
 12    no.                                                     12   always together during running club. When I had her in
 13       Q. Did you suspect any inappropriate relationship    13   seventh grade, there was a gang of students that were
 14    between Melissa Mazzone and any of her students?        14   always around him in the hallway, and she would be one of
 15       A. Melissa Mazzone and her students? I would say     15   them. After school, mostly, probably, during track,
 16    no. I never seen anything between them, no.             16   stuff like that.
 17       Q. Did you suspect any inappropriate relationship    17      Q. So it raised some eyebrows that he took her to
 18    between Mr. Meza and any of -- any other students?      18   Denver to run a race, with you?
 19       A. No.                                               19      A. To run a race? Yeah.
 20       Q. Have you ever suspected any teacher of having     20      Q. With him.
 21    an inappropriate relationship with a student?           21      A. Yeah.
 22       A. Inappropriate relations with a student. Any       22      Q. But it wasn't overly concerning?
 23    teacher. Not at my school, no.                          23      A. Overly concerning? No.
 24       Q. In the fall of 2014, Gracie went to Denver with   24      Q. Or at all concerning?
 25    Mr. Meza on a running trip with Ella Parish. Did you    25      A. Concerning? Unusual. Not concerning.


                                                        32                                                                34
  1    know about that?                                         1   Unusual.
  2      A. I did hear about that.                              2      Q. Did you ever think of reporting this to
  3      Q. Where did you hear about that?                      3   administration?
  4      A. Casual conversation with coaches and locker         4      A. No.
  5    room talk, just stuff like that.                         5      Q. Why not?
  6      Q. When did you hear about it?                         6      A. How do I want to say this? It's a pretty hard
  7      A. Year-wise, I wouldn't be able to tell you what      7   thing to accuse somebody of something like that. And if
  8    year it was. 2015? 2015?                                 8   you do, you better have some pretty hard facts or
  9      Q. All right. They went in the fall of 2014. Do        9   evidence as somebody to do that. And I just never had
 10    you think you would have heard about it in '14, 2014?   10   that. I just thought it never got to the point where it
 11      A. Do I think it could have been -- it could have     11   needed to be reported. I never saw anything with my own
 12    been 2014, yeah.                                        12   eyes.
 13      Q. When you heard about it?                           13      Q. But is it appropriate to transport a student in
 14      A. It could have been, yeah. I can't give you an      14   a car?
 15    exact year.                                             15      A. Is it appropriate for a teacher to transport a
 16      Q. Sure. That's fine. What did you think about        16   student in a car? I would say yes. I would say yes.
 17    Mr. Meza going to Denver with a student?                17      Q. It is?
 18      A. Unusual.                                           18      A. Yeah.
 19      Q. It didn't cause you any concern or raise any       19      Q. Okay. So it wouldn't be inappropriate for him
 20    red flags?                                              20   to drive her to Denver to run this race?
 21      A. Raised eyebrows. That's about it.                  21      A. If it was approved by the school. I don't
 22      Q. Why did it raise eyebrows?                         22   know. I don't know if it was a school function or what
 23      A. If a teacher takes a student on a trip, that       23   it was. If it was just a personal thing, probably
 24    would raise eyebrows, yeah.                             24   inappropriate, yeah.
 25      Q. Why wasn't that concerning to you?                 25      Q. Because it could be an indication of grooming.


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                                                           35                                                                37
  1   Correct?                                                     1      Q. Who were these teachers you were talking with?
  2      A. Yeah. You could say that, yeah.                        2      A. The teachers I ate lunch with?
  3      Q. Were you ever made aware that they had                 3      Q. The teachers you're talking about in the locker
  4   intercourse on this trip to Denver?                          4   room or at lunch with about Gracie.
  5      A. I did not know that at all.                            5      A. I ate lunch every day in the locker room with
  6      Q. So you know that he's transporting her to              6   the same three teachers for the last 20 years. John
  7   Denver to run this race. You don't know if it's been         7   Stellern, Roger Zwonitzer, Todd Howard, all coaches at
  8   approved by the school. Correct?                             8   Johnson Junior High School.
  9      A. I did not know that he was doing that ahead of         9      Q. And what was the circumstances of you and these
 10   time. I only heard about it after the fact.                 10   three other teachers talking about Gracie going to Denver
 11      Q. Correct. And you never went to administration         11   with Mr. Meza?
 12   and said, "I just want you to know Mr. Meza took Gracie     12      A. The circumstances? How it was brought up?
 13   to Denver"?                                                 13      Q. Yes.
 14      A. Did I ever go to administration and say that?         14      A. I don't know. I don't know how it got brought
 15   No, I never did that.                                       15   up, to tell you the truth. It just was conversation.
 16      Q. And that never crossed your mind to do that?          16      Q. Are these three coaches still at Johnson Junior
 17      A. No.                                                   17   High?
 18      Q. He took her again in December of 2015 -- or,          18      A. John Stellern is still there. Roger Zwonitzer
 19   2014, a few months later. Did you know about that second    19   is still there. Todd Howard is now at East High School.
 20   trip to Denver?                                             20      Q. But he's still in Cheyenne?
 21      A. I did not know about that one, no.                    21      A. Yes.
 22      Q. When Gracie was no longer a student at Johnson        22      Q. Are they employed by the district?
 23   Junior High, she would still come back to the school to     23      A. Are they employed by the district? Yes, they
 24   see Mr. Meza. Would you ever recall seeing her?             24   are. Yes.
 25      A. I don't recall seeing her after she left              25      Q. Okay. Thank you. So you talked about them


                                                           36                                                                38
  1    Johnson Junior High School.                                 1   going to Denver together with these three other teachers.
  2       Q. Do you ever recall seeing Gracie in Mr. Meza's        2   What was the talk about Gracie moving in with Mr. Meza
  3    classroom when she was not enrolled in his class?           3   that you had with these three other teachers?
  4       A. That would have been her eighth-grade year.           4      A. It was talk about them after we had learned
  5    Yeah, she was in there. She was in there with the           5   that he had adopted her. It was unusual.
  6    running club and everything like that that they were        6      Q. Unusual? Have you ever heard of a teacher
  7    doing.                                                      7   adopting a student?
  8       Q. I mean during the day, during the school day.         8      A. I can't say that I have, no.
  9       A. Oh, during the day? No, I don't recall seeing         9      Q. Did this raise eyebrows to you, that he was
 10    her in there during the day.                               10   adopting a student?
 11       Q. Mrs. Tina Hunter wrote a note saying she saw         11      A. Yeah. Yeah.
 12    Gracie in his classroom when she was not enrolled in his   12      Q. And why? Because it's unusual?
 13    class, and she sent Gracie to her appropriate class. Do    13      A. Well, yeah. First of all, you never hear of a
 14    you recall hearing about anything like that?               14   teacher adopting a student. That's unusual. And then
 15       A. I don't recall, no.                                  15   just the fact that it was Gracie made it unusual because
 16       Q. And she moves in with Mr. Meza in approximately      16   of all the time that you see him spend with her all the
 17    October of 2015. Did you know about that?                  17   time.
 18       A. We heard, yeah. There was talk.                      18      Q. Do you think this was concerning that he wanted
 19       Q. When did you hear about that?                        19   to adopt her?
 20       A. About the same time that you're talking about,       20      A. No.
 21    2015, 2016.                                                21      Q. What did the other teachers think about the
 22       Q. What were the circumstances of you hearing           22   adoption?
 23    about it?                                                  23               MR. SMITH: Object to form. You may
 24       A. How did I hear about that? Again, just               24   answer.
 25    teachers talk in the locker room, teachers eating lunch.   25      A. I wouldn't know what they thought.


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  1       Q. (BY MS. OLSON) They didn't express to you, "We        1      A. Not surprised.
  2   think that's weird too"?                                     2      Q. Why were you not surprised?
  3       A. I'm trying to remember the conversations. It's        3      A. Just because of all the time they spent
  4   been so long. I couldn't give you an honest answer on        4   together.
  5   that. I would have to speculate and say something about      5      Q. So it wasn't surprising to you?
  6   that because I don't remember. It's been four years ago.     6      A. No. I wasn't in shock when I heard that, no.
  7   I don't remember the conversation I had last week with a     7      Q. Because they'd gone to Denver. She spent a lot
  8   teacher.                                                     8   of time with him. She would be in his classroom at lunch
  9       Q. And you don't need to remember their exact            9   and after school, always around him. Is that why it was
 10   words.                                                      10   not surprising?
 11       A. Yeah.                                                11      A. Probably, I'd say, yeah.
 12       Q. Just if you remember them also thinking that         12      Q. Do you know Vince Garcia?
 13   was unusual or also raising an eyebrow to it.               13      A. Yes.
 14       A. Jokingly, I would say yes. There was a joke.         14      Q. How do you know him?
 15       Q. Do you recall what the joke was?                     15      A. I believe Vince Garcia -- is that Joe Meza's
 16       A. No. I mean, it's just, I would say -- no. I          16   wife's father?
 17   wouldn't recall what the joke was, no. What I mean by       17      Q. Yes.
 18   "jokingly" is you don't understand how coaches talk in      18      A. Yes, I know him. I just know him because I run
 19   the locker room with each other.                            19   into him occasionally sometimes during what we call
 20       Q. I got it.                                            20   trivia nights. We were playing trivia together.
 21       A. It was just something that was brought up,           21      Q. Do you ever talk to Mr. Garcia about Mr. Meza?
 22   yeah. It's just something that we talked about and          22      A. Yeah. Yes.
 23   laughed about, basically.                                   23      Q. How many conversations did you have with
 24       Q. I guess I don't understand what's funny about        24   Mr. Garcia about Mr. Meza?
 25   it.                                                         25      A. I'd probably say four to five times, maybe.


                                                           40                                                               42
  1       A. I guess I don't either.                               1      Q. I need to know, as best you can recall, what
  2       Q. I mean, they're having sex together at this           2   was said during these four or five conversations. Do you
  3    time.                                                       3   recall, for example, the first one, how was it brought up
  4       A. I did not know they were having sex at that           4   and what was discussed?
  5    time. Nobody did.                                           5      A. These were all conversations about Mr. Meza
  6       Q. Do you know why he wanted to adopt her?               6   after he had gotten arrested. Most of the conversations
  7       A. I do not.                                             7   were he would say that there was evidence, but he would
  8       Q. Did you ever talk to him about adopting Gracie?       8   not tell me what evidence there was. He just said that
  9       A. Never.                                                9   there was hard evidence against him, and things were
 10       Q. How did you hear about the adoption?                 10   coming down. Because at the time, it was just an
 11       A. Again, just in the locker room, talk. Word           11   investigation, so he never gave details as to what
 12    spreads fast in school. A teacher says one thing to        12   evidence he had. But I assume that he knew a lot because
 13    another teacher, and by the time you know it, all the      13   his wife was -- or, his daughter was married to him. But
 14    teachers know.                                             14   he never told me anything about what evidence he had.
 15       Q. How did you hear about him being arrested?           15      Q. What did you say to him about it?
 16       A. It was probably the last week or two of school.      16      A. About the case?
 17    It was kind of unusual not to see Mr. Meza there. People   17      Q. Or about Mr. Meza.
 18    started to talk. "Where is Mr. Meza?" He was gone four     18      A. I couldn't recall. I wouldn't be able to tell
 19    or five days in a row. And then, of course, just like      19   you.
 20    the rest of the stuff, somebody said something to          20      Q. Do you recall saying anything to him like,
 21    somebody, and you kind of knew from there.                 21   "Well, none of us were surprised when he was arrested"?
 22       Q. What was your initial reaction when you found        22      A. I wouldn't be able to recall that, no.
 23    out?                                                       23      Q. So you might have said that? You just don't
 24       A. That I found out that he got arrested?               24   recall?
 25       Q. Yes.                                                 25               MR. SMITH: Object to the form.


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  1      A.    I might have said it.                               1   wasn't a whole-table conversation.
  2               MR. SMITH: You may answer.                       2      Q. They were present. It was a conversation
  3       A. It's possible I might have said it, yeah. I           3   between you and Mr. Garcia?
  4    don't recall saying that, but it's possible, yeah.          4      A. Me and him, yeah.
  5       Q. (BY MS. OLSON) Do you recall making any               5      Q. Okay. Great. Do you know who Danielle Booth
  6    statements like, "Well, we all knew this was going on"?     6   is?
  7       A. I don't recall that, making that statement, no.       7      A. Yes, I do.
  8       Q. Do you recall making any statements of, "Well,        8      Q. Who is that?
  9    none of us" -- or, "all of us suspected this was going      9      A. Danielle Booth is a physical education teacher
 10    on"?                                                       10   that's been at Johnson. She's no longer at Johnson.
 11       A. No. I wouldn't have made that statement, no.         11   She's at South High School now.
 12       Q. You're sure you didn't make that statement?          12      Q. When did she go to South?
 13       A. I'm not sure, no. I'm not sure. But I don't          13      A. Last year.
 14    recall making that statement.                              14      Q. Do you know why she was transferred?
 15       Q. Did you ever say anything like that it was a         15      A. I do not know.
 16    joke about how obvious it was, the relationship between    16      Q. Did she -- was she friends with Mr. Meza?
 17    Meza and Gracie?                                           17      A. I wouldn't know that, no.
 18       A. Yeah, that's probably something I would say.         18      Q. Do you know what information she would have
 19    That's something that we did, yeah.                        19   about this case?
 20       Q. When you say, "That's something that we did,"        20      A. I don't.
 21    oh, joke about it? Is that what you're saying?             21      Q. At one point did you agree to meet with
 22       A. Yeah. Again, talking about it in the locker          22   Ms. McCorkle and her private investigator before this
 23    room as coaches when we talk about things, yeah.           23   lawsuit was filed?
 24       Q. Joking about the relationship between Meza and       24      A. Did I agree to meet with Ms. McCorkle? I've
 25    Gracie?                                                    25   never agreed to meet with anybody. I did receive phone


                                                           44                                                             46
  1       A. Yeah.                                                 1   calls, yes.
  2       Q. Okay. Do you recall making any other                  2      Q. But you never agreed to meet with her?
  3    statements to Mr. Garcia?                                   3      A. I don't believe so, no.
  4       A. No, I wouldn't say -- I couldn't recall what          4               MS. OLSON: Loyd, we've been going for
  5    exactly I said to Mr. Garcia.                               5   about an hour. Do you mind if we take a ten-minute
  6       Q. You don't have to recall exactly, but if you          6   break?
  7    remember any other statements you made.                     7               MR. SMITH: Anna, you never have to get my
  8       A. No.                                                   8   permission to take a break.
  9       Q. Do you recall any of these conversations you          9               MS. OLSON: You're so sweet, Loyd. Thank
 10    had with Mr. Garcia occurring in front of Ben Saunders,    10   you. I'll be back in ten minutes.
 11    Jim Nelson, Curt Helzer or Dan Rusk?                       11                 (Deposition proceedings recessed
 12       A. I'm going to say yes, in that those are the          12                 2:00 p.m. to 2:10 p.m.)
 13    guys that were on his trivia team.                         13               MS. OLSON: I only have a couple more
 14       Q. Yes.                                                 14   questions, and then we're almost done.
 15       A. They were there. They were there. But it             15      Q. (BY MS. OLSON) Mr. Vigil, do you recall
 16    wasn't a table conversation. It was a conversation that    16   receiving a phone call from Al Bennett in November of
 17    me and him had together by ourselves. So they were         17   2019?
 18    there. I don't know if they heard or asked about it        18      A. Al Bennett?
 19    after I left.                                              19      Q. He's an investigator.
 20       Q. Well, if you had four or five conversations          20      A. I received phone calls from somebody, yes.
 21    with Mr. Garcia about it, isn't it possible that one or    21   Could be him, yeah.
 22    all of them could have been present at one of those        22      Q. Do you recall agreeing to meet with him and
 23    conversations?                                             23   discuss this case?
 24       A. Oh, they were present. They were present.            24      A. I don't recall agreeing to meet with him. I
 25    They were at the table. But it wasn't -- like I said, it   25   know I never did, so I don't know if I agreed to meet


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                          EXHIBIT 6


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                                                                                                                  Exhibit 8

                                  Professional Conduct Guide
The mission of the Professional Teaching Standards Board (PTSB) is to ensure that every student is served by
                  competent, ethical educators who meet rigorous performance standards.


                                  The Best Way to Teach is by Example - Einstein
The following examples of appropriate professional conduct are presented by the Professional Teaching Standards Board in sup-
port of Wyoming educators’ commitment to ensuring safe, healthy environments for students. The Professional Teaching Stan-
dards Board strongly recommends that all school staff become knowledgeable of their local district’s policies regarding profes-
sional conduct. Support a school culture of professionalism by helping to create a culture of intolerance for unprofessional
behavior. Ignoring unprofessional conduct sends the message that such behavior is acceptable.

HEALTHY BOUNDARIES: All students have the right to be safe emotionally, physically, and intellectually. More than ever,
kids need healthy, clearly-defined relationships with adults. Educators are mentors; and as such, have the responsibility to
model, teach, encourage, and support positive, healthy human relationships.
     Maintain a professional relationship with students inside and outside of school property.
          o Going to parties or socializing with students is inappropriate.

                                                 DRAFT
          o Assigning or requesting students to do errands to meet personal needs is inappropriate.
          o Inviting students to your home, especially when no one else is present, is inappropriate.
          o A pattern of writing passes, making excuses, or rides home, for a particular student, or students is inappropriate.
     Use caution in the way you touch students.
          o Lingering massages or touches, kisses, or asking for a hug are inappropriate.
          o Do not engage in, solicit, or consummate any inappropriate written, verbal, or physical relationship with a
               student.
     If you need to speak with a student privately, leave your classroom door open.
     Maintain a professional relationship with students at extracurricular activities. Loose, inappropriate boundaries set the
     stage for inappropriate gender and harassment issues.
     Ensure that a chaperone is present and available to students during off-campus school sponsored activities. It is recom-
     mended that there is a male chaperone for male students and a female chaperone for female students.
     Remind students of the limits of your relationship as an educator.
          o Affirm the helping nature of your relationship with students.
          o Assist students to obtain the additional supports they may need; counseling, medical interventions, etc.
          o As an educator you are a role model, not their friend, not their confidante, or surrogate parent.
     Model appropriate language for students. The use of profanity, vulgarity, put downs, sarcasm, or name calling is inappro-
     priate at all times in the presence of students.
          o Student-educator communications should be open and void of any “hidden messages".
     Dress professionally – regardless of current trends. Dress in a manner in which you can be actively involved in student
     learning and activities.
          o Clothing with vulgar statements, sexual innuendos, discriminatory put downs, or that promote the use of illegal and
               unauthorized drugs or alcohol should not be worn at school.
     Students need to be supervised at all times while in your classroom.
     Do not use, possess, be under the influence of, or encourage the use of alcohol, illegal drugs, or the unauthorized use of
     drugs while on school property or at a school sponsored activity involving students.
          o Do not encourage the use of or supply any illegal or unauthorized drug to students.

TECHNOLOGY
   Do not use your personal phone to text or call students. If required to use – or recommended to use – by your school,
   request that the school issue you a phone specifically to use with students.
   Email students via your school sponsored web site, computer, or email. Do not use your personal email account. Con-
   sider all emails public.
   School computers are to be used for school purposes at all times –whether used at school or away from school.
   o Do not download sexually explicit or any inappropriate or questionable material on school computers.
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      My Space, Facebook: If you don’t want the Superintendent reading it aloud to you in a meeting, don’t post it.
           o Be aware, once you post something it is there forever. You may take it off – but information you want deleted may
                already be out on the internet – without any future control by you.
           o Set up your site as private. (Understand that “privacy” on the internet is an oxymoron.)
           o When adding photos select the option “do not share photos”.
           o Delete any off-color comments made by friends.
           o Do not “tag” your photos with your name or the names of others. Tagging photos means listing the people in the
                photos by name, either partial or full. “Tagged” photos automatically link to others’ sites.
           o Keep blogging work friendly. Do not use names of co-workers, bosses, or students in a rant about a bad day at
                school.
           o Do not allow students into your site.
           o Do not give out personal information.
      Movies, TV programs, internet sites, reading material, etc. used at school by you for students need to comply with school
      district policy.

  PROFESSIONAL EDUCATOR
     Maintain confidentiality.
          o Grades, test scores, reports from related services personnel (school psychologist’s reports, nurse, etc) and informa-
              tion from community agencies (Department of Family Services, police department, etc), and sensitive information
              shared by family members to you are confidential.
          o Disclosure of information to persons who do not have both a right and a need to know is a violation of the
              law.
     Respect differences; plan for inclusive groupings for instruction and other school activities.
          o Assign leadership roles equitably.
          o Be careful not to group on the basis of race, gender, family, social, or cultural background, national origin, political
               or religious beliefs, or disability.
          o Actively participate in and comply with Individual Educational Programs (IEP) and 504 plans.
          o Students should not be labeled based on race, gender, sexual orientation, family, social, or cultural background,
               national origin, political or religious beliefs, or disability. Do not undermine a student’s beliefs by criticizing, mak-
               ing fun of, or “subtle” sarcasm.
     Adhere to federal and state laws, professional licensure requirements, and local school policies.
     Recommend for employment only those educational professionals who have demonstrated professional and ethical behav-
     ior.
     Act with honesty and integrity in administering standardized tests.
          o Follow the directions for administering the test explicitly.
          o Do not read sections that students are required to read independently.
          o Do not lead a student to the correct answer.
          o Do not falsify answers or copy and teach to specific test items on the test.
          o Do not edit or change any student answers or results.
     Conduct financial business with integrity and by honestly accounting for all funds committed to the educator’s charge and
     collect and report funds consistent with the school and district policy.
     Comply with inquiries regarding investigations and hearings initiated by the Professional Teaching Standards Board.
     Provide truthful information on all documents and applications for licensure.




                             Wyoming Professional Teaching Standards Board

Additional References:                                 1920 Thomes Ave, Suite 400
Wyoming Rules and Regulations Governing Licen-         Cheyenne, WY 82002
sure of School Personnel, Due Process, Ch 9.           Phone: (307) 777-6261
(http://ptsb.state.wy.us/RulesRegulations/tabid/62/    Fax: (307) 777-8718
Default.aspx )                                         Website: http://ptsb.state.wy.us
Code of Ethics of the Education Profession:
http://sites.nea.org/aboutnea/code.html                  Created January 2010
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                                                                                1

 1                          IN THE UNITED STATES DISTRICT COURT                Exhibit 9

 2                                 FOR THE DISTRICT OF WYOMING

 3      Civil Action No. 1:20-cv-00053-ABJ

 4      -----------------------------------------------------
        GRACIE ANN FORTH,
 5
                              Plaintiff,
 6
                    vs.
 7
        LARAMIE COUNTY SCHOOL DISTRICT
 8      No. 1 and John/Jane Does 1-10
        in his/her official capacity,
 9
                   Defendants.
10      -----------------------------------------------------

11

12
                      VIDEOCONFERENCE DEPOSITION OF SHANNON HALL
13                            Taken by the Plaintiff

14                                     1:17 p.m., Tuesday
                                       November 10, 2020
15

16                  PURSUANT TO NOTICE, the videoconference

17      deposition of SHANNON HALL was taken in accordance

18      with the applicable Wyoming Rules of Civil Procedure

19      before Lisa B. Kelly, a Registered Professional

20      Reporter, Certified Realtime Reporter and Notary

21      Public in and for the State of Colorado.

22

23

24

25



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                                                                                        8

 1      taught?

 2                  A.          7th through 9th, but predominantly 8th

 3      grade.

 4                  Q.          What buildings have you been in?                 Have

 5      you -- my understanding, during the relevant time

 6      period, is that you were working at Johnson Junior

 7      High; is that right?

 8                  A.          I'm sorry.                There was a glitch.   Yes.

 9      I've only worked at Johnson Junior High.

10                  Q.          Okay.

11                  A.          Sorry about that.

12                  Q.          Thank you.                That's a more direct way of

13      answering a convoluted question.

14                              Okay.        So I want to primarily talk to you

15      about the 2013-to-2017 time frame, so I'll narrow

16      down discussion about your employment to that time

17      frame.

18                  A.          Okay.

19                  Q.          And it sounds like you have worked at

20      Johnson Junior High during that time.

21                  A.          Correct.

22                  Q.          Do you recall whether you were teaching

23      7th or 8th or 9th grade during that time?

24                  A.          8th grade.

25                  Q.          Do you recall who your supervisor or



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 1      supervisors were in the 2013-to-2014 school year?

 2                  A.          I believe at that time -- I'm sorry.                 I'm

 3      trying to remember when John Balow came onto staff.

 4      It would have been John Balow, I believe, John

 5      Cunningham and Tina Hunter, I believe, were all of

 6      those at that time frame.

 7                  Q.          Do you remember what their positions

 8      were?

 9                  A.          At that time John Balow would have been

10      our head principal.                      I believe John Cunningham was

11      assistant -- or associate, and then Tina, I believe,

12      was assistant.

13                  Q.          Is there a difference between assistant

14      and associate principal?

15                  A.          I was just thinking that when you asked

16      the question.                I believe the associate is the second

17      in command and assistant is third or it's vice versa.

18                  Q.          Okay.

19                  A.          I'm sorry.

20                  Q.          That's okay.               Do you remember who the

21      assistant superintendent of human resources was

22      during that time frame?

23                  A.          I'm not 100 percent, but I believe it

24      was -- I think it was John Lyttle at that time.

25                  Q.          Okay.



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                                                                                         16

 1      frame this was?

 2                  A.          It would have been towards the beginning

 3      of his time at Johnson.                           Probably from 2013 to maybe

 4      2014 maybe.               Maybe the beginning of 2015.

 5                  Q.          Okay.

 6                  A.          Maybe.         I'm not entirely sure.          I think

 7      it was just 2013, 2014.

 8                  Q.          Okay.        And did the teachers stop meeting

 9      after that point or did you stop attending group

10      functions with them?

11                  A.          Primarily I stopped attending group

12      functions with them.

13                  Q.          Was there a reason?

14                  A.          Melinda Mazzone and Joe Meza were having

15      a lot of students go to their rooms, and I didn't

16      feel that was appropriate.

17                  Q.          Okay.        But what was it that you didn't

18      feel was appropriate about that?

19                  A.          I felt that teachers -- there should be

20      this boundary between teachers and students, and I

21      think both of them were trying to be friends with the

22      students more.

23                              And when you forge a relationship at the

24      cost of your colleagues, I never think that's a good

25      idea.         So if you allow kids to come hang out in your



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 1      room, I think there's an issue with that, because you

 2      should be sending those kids back to classes.

 3                  Q.          How -- and so were students present in

 4      Ms. Mazzone and Mr. Meza's room at times when they

 5      were not actually attending their classes?

 6                  A.          That is correct.

 7                  Q.          And how were they allowed to do that?

 8                  A.          They would often just, I think, just go

 9      show up and sit in the room.

10                  Q.          Did they need a hall pass to do that?

11                  A.          They were supposed to have hall passes;

12      however, sometimes teachers won't -- I mean, excuse

13      me -- students will not show up to a class.                            And so

14      it's not the teacher letting a kid go; it's a kid not

15      showing up and just going instead.

16                  Q.          Okay.

17                  A.          If that makes sense.

18                  Q.          Okay.        And so there would be times where

19      students would not have hall passes to go to Mr. Meza

20      or Ms. Mazzone's classes and they -- because they

21      just skipped the classes that they were supposed to

22      be in altogether; is that right?

23                  A.          Correct.

24                  Q.          Okay.        And then were there other times

25      that they did receive hall passes?



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 1                  A.          Correct.

 2                  Q.          Was that in the discretion of the teacher

 3      providing the hall pass, or was it up to Mr. Meza or

 4      Ms. Mazzone?

 5                  A.          Usually for a teacher what would happen

 6      is, for example, if I taught a 7th grade class and

 7      Mr. Meza asked for a student to work on math during

 8      Firebird focus or a study hall time, I would then

 9      send that child to that teacher.

10                              Not having taught 7th grade, there was

11      really no reason for a student of mine to go see

12      Mr. Meza or Ms. Mazzone, considering they were both

13      7th grade teachers.                      Instead, my 8th grade students

14      should be seeing 8th grade teachers if they needed

15      assistance.

16                  Q.          Okay.        And were some of your students

17      going to Mr. Meza or Ms. Mazzone's classes?

18                  A.          They tried.               But I don't usually let kids

19      go to other teachers' classes without a pass.

20                  Q.          Okay.        Did Mr. Meza at some point ask you

21      to allow Gracie Forth to attend his class, you know,

22      basically whenever she wanted to?

23                  A.          Yes.

24                  Q.          And can you tell me how that conversation

25      came about?



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 1                  A.          It would have been the start of Gracie's

 2      8th grade school year.                            He came into my room, and he

 3      sat on a desk in front of the room -- or excuse me --

 4      a table, and proceeded to tell me that Gracie had a

 5      hard life, he had a special relationship with her,

 6      and that I should allow her to go to his room at any

 7      time, to which I told him, that is not how I do

 8      business.             If a student needs assistance, I would go

 9      through the proper channels of either a counselor or

10      the principal.

11                              He became pretty upset about it, a little

12      bit -- a little threatening in his manner, and so I

13      did report that to the principals.

14                  Q.          How did he become threatening?

15                  A.          When I told him I was not going to allow

16      that to happen, he kind of -- kind of, like, puffed

17      up and got a little bit -- and tried to, once again,

18      persuade me to allow her to go to his room.

19                  Q.          And how did he try to persuade you

20      further?

21                  A.          Just kind of almost in a demanding tone,

22      like I need to see her.                           I am someone who is trying

23      to help this child, and I have her best interest at

24      heart and I need to see her.                              That kind of attitude.

25                  Q.          Okay.



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 1                  A.          I do not know the exact words that were

 2      used, but I did feel like he was very demanding in

 3      his tone.

 4                  Q.          Okay.        And had he ever asked you to allow

 5      any other student to come to his room whenever that

 6      student wanted to?

 7                  A.          No.      But I believe that would have been

 8      his second year of teaching at Johnson, so it would

 9      have been his first group of students.

10                  Q.          Okay.        Is that a request that any other

11      teacher has asked you to grant?

12                  A.          Not in the same lines.

13                  Q.          And you said that you reported that to

14      the principals?

15                  A.          That is correct.

16                  Q.          Which principals did you report that to?

17                  A.          I am not entirely sure.                        I am sorry.

18                  Q.          Okay.        Do you remember how you reported

19      it?

20                  A.          It would have -- I'm guessing at that

21      time -- I'm thinking it was a verbal conversation.

22                  Q.          Okay.        And so -- and I don't want to put

23      words in your mouth, but let me see if I can

24      summarize.

25                              So at the beginning of Gracie's 8th grade



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 1      year, which would have been the fall of 2014, Mr.

 2      Meza came to your class, asked you to allow Gracie to

 3      come to his class whenever she needed to?

 4                  A.          (Nodded head up and down.)

 5                  Q.          And you said no.                  You felt that that was

 6      threatening in nature and reported that to a

 7      principal probably verbally; is that right?

 8                  A.          That sounds correct, yes.

 9                  Q.          And what about the interaction did you

10      find concerning enough to report?

11                  A.          The fact that when I said no, he became

12      so almost demanding, like she really does need my

13      help.         And as a teacher, we're all there to help

14      kids.         But the fact he was so demanding was the

15      reason I reported it.

16                  Q.          Okay.        Was it that incident that led you

17      to no longer socialize with Mr. Meza?

18                  A.          It may have happened before then.                  I'm

19      not entirely sure.

20                  Q.          Okay.        And so were there other incidents

21      before that one that caused you to stop socializing

22      with he or Ms. Mazzone?

23                  A.          I think a lot of it, if I remember

24      back -- I mean, this is many years ago -- that

25      Ms. Mazzone and Mr. Meza's behavior just -- it just



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 1      didn't seem like what I wanted to be around.

 2                  Q.          What do you mean?

 3                  A.          There wasn't actually a moment, I don't

 4      think.           It's just I just didn't like the way they

 5      were interacting with kids and their colleagues.

 6                  Q.          So let's break that down a little.                    What

 7      is it that you didn't like about Mr. Meza's

 8      interactions with kids?

 9                  A.          Being a young male teacher, I think you

10      have to be very careful how you interact with

11      students.             Because we have so many young girls that

12      will look at a young male teacher and "aw" at them a

13      little bit, and I think that as a teacher you have to

14      be very clear with your boundaries.

15                  Q.          Did you feel that Mr. Meza was clear with

16      his boundaries?

17                  A.          Not always.

18                  Q.          And do you have any examples of when he

19      was not clear with his boundaries?

20                  A.          Often before school there would be a

21      group of girls up in his room.

22                  Q.          Okay.

23                  A.          Gracie may be one of those.                    However, he

24      was a coach, a running club coach, and so it was a

25      legitimate reason for him to have kids in his room at



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 1      times.           However, there were a lot of kids, usually

 2      females, in his room.

 3                  Q.          And when you say often before school,

 4      does that mean two, three, four, five times a week?

 5                  A.          I'm not sure because my room wasn't in

 6      close proximity to his.                           I was downstairs.

 7                  Q.          Okay.        How far -- how far was your room

 8      from Mr. Meza's?

 9                  A.          Probably down a hallway and then down

10      stairs.

11                  Q.          Okay.        So were you --

12                  A.          We were on -- it wasn't other ends of the

13      building, but it was a distance.

14                  Q.          Were you able to see Mr. Meza's room from

15      your room, if you were in your doorway?

16                  A.          No.

17                  Q.          Okay.        How did you know that there were

18      female students in his room before class?

19                  A.          Sometimes I would get my mail upstairs,

20      and I would go walk, on the way back to my room,

21      behind that back hallway horseshoe where he was at.

22                  Q.          Okay.        Were there any other examples of

23      inappropriate boundaries with students, that you can

24      recall?

25                  A.          Yes.



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 1                  Q.          And what were those?

 2                  A.          As a teacher, I try to only report things

 3      that I saw; however, I had a group of students

 4      complain to me that Joe and Gracie were sharing soda

 5      out of a -- either a can or out of a plastic bottle,

 6      and they felt that was odd.                             And when I heard it, it

 7      seemed odd to me, and so I did report that also.

 8                  Q.          Do you remember when that was?

 9                  A.          I do not know.                It was during my

10      8th grade year.

11                  Q.          Who did you report that to?

12                  A.          I believe it may have been John Balow and

13      Tina Hunter.

14                  Q.          Do you remember?

15                  A.          I'm not entirely sure.                         I'm sorry.   I'm

16      not entirely sure.

17                  Q.          Okay.        And do you remember whether that

18      was a written report or a verbal report?

19                  A.          I believe -- I believe both -- I believe

20      those were verbal reports.

21                  Q.          On -- well, specifically with the sharing

22      soda, do you recall, as far as a verbal report,

23      whether you made an appointment to see Mr. Balow or

24      Ms. Hunter and had a conversation with them in order

25      to report this or how that conversation came about?



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 1                  A.          I believe -- I believe I was in one of

 2      their offices talking about it.                                 So I vaguely

 3      remember actually sitting at a desk, talking to them.

 4      So I know it was not a drive-by conversation in the

 5      hallway, you know, one of those quick conversations.

 6      It was a lengthy conversation.                                I do not know if I

 7      made an appointment, though.

 8                  Q.          And you said it was a lengthy

 9      conversation?

10                  A.          When I say "lengthy conversation," I mean

11      one where we were -- I was sitting at a desk,

12      talking.            So often in education, a lot of

13      conversations happen quickly in a hallway, during a

14      passing period, and I realize it was not a

15      passing-period conversation.

16                  Q.          Okay.        Do you remember approximately how

17      long the conversation lasted?

18                  A.          It may have only been a couple of

19      minutes.            Probably I was talking to them about

20      something else at the same time.

21                  Q.          Okay.        Do you remember what the response

22      was when you raised this concern?

23                  A.          From what I remember from both, I think

24      both of them acknowledged that there was -- I felt

25      like they had frustration towards the situation.



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 1                  Q.          And why do you think that?

 2                  A.          I think, if I remember correctly, Tina

 3      was kind of like -- kind of threw her hands up in --

 4      like exasperated.

 5                  Q.          Are you aware of whether other comments

 6      or complaints had been made to them?

 7                  A.          I believe there had been other ones.

 8                  Q.          What is that based on?

 9                  A.          Just from other conversations in the

10      hallways with teachers.                           I think I vaguely remember a

11      teacher or two saying they had said something to the

12      administration concerning the situation.

13                  Q.          Okay.        And so you said that Ms. Hunter

14      threw her hands up in exasperation?

15                  A.          I think that's what I remember.                Really,

16      this has been quite a while ago, but I had a feeling

17      that she felt frustrated by the situation, but I

18      don't know what she said or did that would have made

19      me feel that way.

20                  Q.          And what about Principal Balow?

21                  A.          I remember him -- in my mind, I think he

22      was just -- it seemed like he was also a little

23      frustrated.

24                  Q.          Okay.

25                  A.          But, again, I'm not sure what he said or



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 1      concerning Gracie or Joe and Melinda in general, if

 2      that makes sense.

 3                  Q.          What was the -- what were the principals'

 4      response when you discussed Mr. Meza's threatening

 5      posture towards the beginning of the year?

 6                  A.          I believe that they were concerned and

 7      said they would look into it.

 8                  Q.          Do you know whether they looked into it?

 9                  A.          I believe -- I believe so, but I'm not

10      100 percent.

11                  Q.          Did they ever tell you that they looked

12      into it?

13                  A.          At one point -- yes, I believe so.

14                  Q.          Do you know whether that was days, weeks,

15      months after you reported the incident?

16                  A.          I'm not entirely sure if it was on that

17      incident or the fact that I was frustrated with

18      students wanting to go to his room in general.

19                  Q.          Okay.        And so had -- had you also raised

20      separately students, in general, going to Mr. Meza's

21      room as a concern?

22                  A.          That is correct.

23                  Q.          Do you remember whether that conversation

24      was verbal or written?

25                  A.          Most of the time, when it's a delicate



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 1      or just 8th.

 2                  Q.          Okay.        Do you know whether she reported

 3      this to anyone in the administration?

 4                  A.          Yes.

 5                  Q.          Do you know who she reported it to?

 6                  A.          No, I do not.

 7                  Q.          How do you know that she reported this

 8      issue?

 9                  A.          Because I told her and she told me.

10                  Q.          Okay.

11                  A.          We both had students complain about the

12      same issue.

13                  Q.          Do you know whether they complained to

14      anybody else?

15                  A.          I do not.

16                  Q.          Are there any other incidents that you

17      reported to the administration about Joe Meza?

18                  A.          Yes.

19                  Q.          What were those?

20                  A.          I had to report when Gracie actually

21      skipped my class to go to Joe's room.

22                  Q.          Did you report that immediately?

23                  A.          Yes.

24                  Q.          Do you -- and I guess that would have

25      been Gracie's 8th grade year; is that right?



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 1                  A.          That is correct.

 2                  Q.          Do you remember what time of year it was?

 3                  A.          I want to say either around Thanksgiving,

 4      Christmas, maybe the start of the new year.                               I'm not

 5      entirely sure.

 6                  Q.          Had she done that more than once?

 7                  A.          Not in my class.

 8                  Q.          And how did you report that?

 9                  A.          At that point, I think I did it through a

10      referral.             I believe I wrote up Gracie for ditching

11      my class.

12                  Q.          Okay.

13                  A.          However, I may -- I'm not entirely sure,

14      but I think it was an actual referral I wrote.

15                  Q.          And so what is the impact of a referral?

16                  A.          It depends on the situation.                   Usually a

17      student is talked to and then assigned a consequence

18      of some sort.

19                  Q.          Okay.        And do you know who would have

20      spoken with her or who did speak with her?

21                  A.          I'm not sure if it would have been John

22      Cunningham or Tina Hunter.

23                  Q.          Okay.

24                  A.          It depends on who the grade level

25      principal was that year.                           I'm not sure.



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 1                  Q.          Okay.        Did you learn that Gracie tried to

 2      commit suicide?

 3                  A.          Could you tell me when that took place?

 4      If I remember --

 5                  Q.          I believe that was in the fall of 2015.

 6                  A.          Would that have been when she was still

 7      in 8th grade?

 8                  Q.          No.

 9                  A.          I'm sorry.

10                  Q.          No.

11                  A.          No.      Okay.            I think that came out in the

12      trial, but I don't remember having heard of that.                            I

13      believe she had already moved up to South at that

14      time; is that correct?

15                  Q.          Yes.       I believe she was at South then.

16                  A.          Yeah.        So I don't remember hearing that,

17      no.

18                  Q.          Okay.        So let's talk about Gracie's 8th

19      grade year and specifically her interactions with

20      Mr. Meza.

21                              Do you recall seeing Gracie in Mr. Meza's

22      class before school?

23                  A.          Yes.

24                  Q.          And do you know approximately how often

25      that occurred?



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 1                  A.          Maybe in the entire year, that I had

 2      seen, probably maybe up to a dozen times, that I had

 3      noticed.

 4                  Q.          And are you aware, without having

 5      observed yourself, whether she was in his room prior

 6      to school beginning?

 7                  A.          I've heard that, yes.

 8                  Q.          Okay.        Do you know whether you heard that

 9      from students?                 Staff?             Both?

10                  A.          I believe maybe from both; however, I

11      believe that she was a member of his running club and

12      so there are times that I think they had meetings

13      before school, if I'm correct.

14                  Q.          Okay.        And what about after school?               Did

15      you ever observe her in Mr. Meza's classroom after

16      school?

17                  A.          Yes.

18                  Q.          How often was that?                     Was that something

19      that was regular?                    Irregular?

20                  A.          I didn't always see Gracie in his

21      classroom.              I may have seen her in the halls at

22      school and figured she was there for -- either for

23      running club or with Mr. Meza.

24                  Q.          What about during lunch?

25                  A.          I had heard that she was eating lunch



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 1      with Mr. Meza.                 I don't know if it was occasionally

 2      or all the time.

 3                  Q.          Do you know who you heard that from?

 4                  A.          I'm not sure if it was from students or

 5      teachers.

 6                  Q.          Okay.        And what about extracurricular

 7      activities?

 8                  A.          I do know Gracie was involved in running

 9      club.

10                  Q.          Okay.

11                  A.          Or cross-country.                   I don't know what he

12      called it, if it was cross-country or running club.

13      I just know it was a running activity.

14                  Q.          Okay.        Do you know who else was in

15      running club?

16                  A.          Students or staff?

17                  Q.          Both.

18                  A.          I believe there was a co-sponsor, maybe

19      Mya Wible, but I'm not entirely sure.                                  And

20      student-wise, really, I cannot remember from that

21      year.

22                  Q.          Do you know if there were several

23      students?             A few students?                 Any idea about the

24      numbers?

25                  A.          No.      I do not know.



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 1                  Q.          And did you observe Gracie in Mr. Meza's

 2      class when she was supposed to be in other classes?

 3                  A.          I don't remember going up to Mr. Meza's

 4      room during my planning time, so I probably would say

 5      no.       Unless I was having to go drop something off, I

 6      don't know the reason I would be up in his room

 7      during planning.

 8                  Q.          Okay.        Are you aware of whether Gracie

 9      was spending time in Mr. Meza's classroom when she

10      should have been at other classes?

11                  A.          I may have heard that she had been in his

12      room when she should have been in other classes.

13                  Q.          Do you know where you heard that from?

14                  A.          For some reason, I think it was, like,

15      during study hall.                     I vaguely remember someone saying

16      that she would often go to his room during study

17      hall, which would be his lunchtime, now that I think

18      -- well, I think that would have been his lunchtime.

19      7th and 8th graders have alternating lunches,

20      opposite lunches.

21                  Q.          Okay.        So was there anything about the

22      relationship between Gracie and Mr. Meza that was

23      concerning to you?

24                  A.          Yes.

25                  Q.          And what was that?



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 1                  A.          It's not so much just Mr. Meza, it's any

 2      time any teacher and student spend so much time

 3      together.             Our students are supposed to be spending

 4      time with their classmates and building those

 5      relationships with their peers.                                 And I was concerned

 6      because I felt Gracie was becoming very dependent on

 7      Mr. Meza.

 8                  Q.          And you had mentioned that he's a young

 9      male teacher and she's an impressionable female.                                      Did

10      you have concerns about the possibility of a sexual

11      relationship or other inappropriate relationship?

12                  A.          No, because I -- originally, it was a lot

13      of young ladies in the room also.                                      And so I guess I

14      thought, you know, it was students being taken in,

15      you know, liking a young male teacher.

16                              There was a group of young ladies, and I

17      was hoping that, as a teacher, he would set those

18      clear boundaries with his students.

19                  Q.          And at some point, though, did it become

20      more apparent that Gracie and Mr. Meza had a

21      different relationship than he had with other female

22      students?

23                  A.          Yes.

24                  Q.          When did that become apparent?

25                  A.          When I heard talk that he was looking at



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 1      adopting Gracie.                   That was kind of a big kind of a

 2      red flag that they had a different relationship.

 3                  Q.          And when did you start hearing that he

 4      was -- Mr. Meza was going to adopt Gracie?

 5                  A.          If I remember correctly, and my timeline

 6      may be fuzzy, I believe he adopted Gracie the end of

 7      her 9th grade year.

 8                  Q.          I think that's right.

 9                  A.          But I think he was basically kind of --

10      they were going through the process in her 9th --

11      earlier in her 9th grade year, maybe even the end of

12      her 8th grade year.

13                              I remember someone talking about that.                      I

14      think that's what it was.                            The end of the 8th grade,

15      maybe the beginning of 9th grade year, and I no

16      longer had Gracie as a student, but I did think it

17      was odd.

18                  Q.          What did you think was odd about it?

19                  A.          I'm in a profession where, like I said,

20      we really do care about our students.                                  And having

21      taught on a reservation in Montana and having seen a

22      lot of different things in my short time as a

23      teacher, I guess I just thought that there was a

24      boundary issue being crossed there.

25                              And I did not know it was going to result



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 1      in something sexual, by any means, or I would have

 2      definitely reported things differently.                                But I

 3      reported everything that I had seen, that I viewed as

 4      being inappropriate.

 5                  Q.          And did we cover those reports?                    I think

 6      you identified three reports; is that right?

 7                  A.          I believe it would have been four.

 8                  Q.          Okay.

 9                  A.          I believe the start of the year

10      situation; the students and the soda; the times I saw

11      her in his classroom either before school or after

12      school or on professional development days; and then,

13      of course, the last one was when I had to write

14      Gracie up.              I believe I wrote her up.

15                  Q.          And so you did report to the

16      administration that Gracie was spending time in

17      Mr. Meza's classroom before and after school and on

18      professional development days?

19                  A.          That is correct.

20                  Q.          Was that also during her 8th grade year?

21                  A.          Yes.       That is correct.

22                  Q.          Okay.        So at that point, she had not been

23      adopted by Mr. Meza?

24                  A.          No.

25                  Q.          Okay.        And professional development days,



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 1      can you just tell us a little bit about that, for the

 2      record?

 3                  A.          It may be a day where students are

 4      leaving the school early and teachers have basically

 5      a workday or they're going to work towards

 6      professional development or it may be a whole day

 7      of a professional development day.

 8                  Q.          Are students usually in the building

 9      during that time?

10                  A.          No.

11                  Q.          Okay.        Do you recall how many times you

12      saw her -- saw Gracie with Mr. Meza on professional

13      development days?

14                  A.          At least once, maybe twice.

15                  Q.          Okay.        Do you recall what time of year it

16      was when you reported this to the administration?

17                  A.          I think it would have been at the

18      beginning of -- I think there was an October

19      professional development day, I believe, that we

20      traditionally have, and I believe it was then.

21                  Q.          Who did you make that report to?

22                  A.          I'm not sure.                I'm not entirely sure.

23                  Q.          Do you remember where the report took

24      place?

25                  A.          It would have been in a principal's



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 1      office.

 2                  Q.          And so that would have been the spring of

 3      2014.         And so John Balow was the principal at that

 4      time.         Do you recall whether it was in his office?

 5                  A.          I am sure at one point -- I am almost

 6      100 percent sure I talked to all three principals

 7      about Joe and Melinda and both of them having

 8      students in their rooms.

 9                  Q.          Okay.

10                  A.          John Balow, John Cunningham and Tina

11      Hunter.

12                  Q.          Okay.        Okay.         And I'm trying to see if I

13      can get my timing straight here.                                  And so at the

14      beginning of 2014, there was a report to the

15      administration about Mr. Meza asking you to allow

16      Gracie to come to his room whenever she wanted to --

17                  A.          That is correct.

18                  Q.          -- correct?

19                              And so that was probably in the

20      August 2014 time frame --

21                  A.          Yes.

22                  Q.          -- right?

23                              And then in the October 2014 time frame,

24      you reported to the administration that Gracie was

25      spending time with Mr. Meza before and after school,



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 1      as well as on professional development days; is that

 2      right?

 3                  A.          It may have been then.                         It may have been

 4      later.

 5                  Q.          Okay.

 6                  A.          If I remember correctly, I think I

 7      reported twice concerning that issue, at least.

 8                  Q.          Do you remember -- okay.                         So there were

 9      two reports about Gracie spending time in Mr. Meza's

10      classroom.              Do you remember when the other report

11      was?

12                  A.          I do not recall.

13                  Q.          Okay.        And then we have the incident

14      where the students are reporting that they are

15      sharing a soda.

16                  A.          That is correct.

17                  Q.          And we know that that was after the

18      report that occurred in August of 2014.                                     Do you know

19      whether that report came before or after you reported

20      these couple of incidents where Gracie was spending

21      time in Mr. Meza's classroom?

22                  A.          I'm not entirely sure.                         It may have been

23      in between the two reports.

24                  Q.          Okay.

25                  A.          I'm not sure though.



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 1                  Q.          And then we have the other general report

 2      that students were spending too much time in

 3      Mr. Meza's classroom; is that right?

 4                  A.          Yes.

 5                  Q.          Okay.        Did you -- did you write any of

 6      these incidents down, make any notes or reports?

 7                  A.          Yes.

 8                  Q.          Did you make notes about every incident

 9      that you've identified today?

10                  A.          Yes.

11                  Q.          Did you make notes about any other

12      incidents that we haven't talked about?

13                  A.          Not that I'm aware of.

14                  Q.          And were those notes handwritten or

15      typewritten?

16                  A.          They were typed.

17                  Q.          Why did you -- why did you create those

18      documents?

19                  A.          As a teacher, I document a lot of things.

20      So it was, of course, dealing with Gracie and Joe,

21      but there was documentation of things that had

22      happened throughout the year with other students and

23      other staff that I felt should be kept on file.

24                  Q.          Okay.        What did you do with those

25      documents?



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 1                  A.          It would have been before Joe was

 2      arrested.             I know that for a fact.                          I had had them on

 3      my desktop and my computer, and I had a computer --

 4      my computer crashed.                       And they tried to restore my

 5      desktop and they were unable to.

 6                              And to be honest, at that point I didn't

 7      think I needed those and so I had them on my desktop.

 8      I didn't have a backup anywhere.

 9                  Q.          Was that your -- was that a personal

10      computer or a computer issued by the District?

11                  A.          It was a District computer.

12                  Q.          Did you ever provide those notes to

13      anybody?

14                  A.          No.

15                  Q.          Did you ever -- did you ever send an

16      e-mail about any of these concerns to any person --

17      any school district employee?

18                  A.          Not that I remember.                      Not that I recall.

19                  Q.          Okay.        If you had, would you have

20      e-mailed that from your school district e-mail or a

21      personal e-mail?

22                  A.          Probably send it -- to a school district

23      employee, it would have been through a school

24      district e-mail, I'm sure.

25                  Q.          Okay.        And you said these were on your



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 1      desktop.            Were they just loose documents on your

 2      desktop or in a folder?

 3                  A.          I believe it may have been in a folder,

 4      but it was either loose or in a folder.                                     I do not

 5      recall at this time.

 6                  Q.          Do you -- do you have any idea what the

 7      folder might have been called?

 8                  A.          Maybe school info or -- no, I don't

 9      recall.           I am so sorry.

10                  Q.          And you said the computer crashed

11      sometime -- did you say before his arrest or after

12      his arrest?

13                  A.          Oh, before.

14                  Q.          Before his arrest?

15                  A.          Yes.

16                  Q.          Okay.        Did you notice -- are you aware of

17      whether Gracie continued to return to Johnson Junior

18      High after she became a student at South?

19                  A.          Yes.

20                  Q.          How often did you see her at Johnson

21      Junior High?

22                  A.          A lot.

23                  Q.          Did you see her before school?

24                  A.          Usually I would see her sitting out in

25      his car, in the staff parking lot.                                     I remember seeing



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 1      Melinda wanted to see on a regular basis.                                  I can tell

 2      you that I did not allow my students to go, on a

 3      permanent pass, places.

 4                  Q.          Do you know whether other teachers

 5      allowed or routinely provided hall passes for Gracie

 6      Forth to go to Joe Meza's room?

 7                  A.          I'm not 100 percent sure.

 8                              MS. McCORKLE:                Do you want to take a

 9      five- to ten-minute break and then we'll come back?

10                              THE DEPONENT:                Sure.        That would be fine.

11                              (Recess taken, 2:36 p.m. to 2:56 p.m.)

12                              THE REPORTER:                Back on the record.

13                  Q.          (BY MS. McCORKLE)                   Ms. Hall, did you ever

14      see Gracie and Mr. Meza behind closed doors together,

15      at their school, in his classroom?

16                  A.          Yes.

17                  Q.          Do you remember when that was or how

18      often?

19                  A.          No, I do not.

20                  Q.          Were you ever told by other students or

21      staff that that was occurring?

22                  A.          I may have been.                  I'm not entirely sure.

23                  Q.          Okay.        Did you -- did you report those

24      incidents to anyone in the administration?

25                  A.          No.



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 1      Ethan Soto?

 2                  A.          What type of relationship?

 3                  Q.          Any sort of inappropriate relationship.

 4                  A.          Yes.

 5                  Q.          What was inappropriate about it?

 6                  A.          Ethan was in my classroom, and he had a

 7      phone out during testing.                            And I took the phone, and

 8      he was e-mailing Ms. Mazzone to get out of my class.

 9                  Q.          Okay.        And, well, that brings up another

10      question.             Do you know whether Gracie Forth and Joe

11      Meza were texting each other?

12                  A.          Not that I knew of.

13                  Q.          Did Melinda Mazzone get Ethan Soto's name

14      tattooed on her wrist?

15                  A.          I don't know of that.

16                  Q.          Okay.        Maybe that's just a rumor.          Okay.

17                              Did you ever hear about Gracie and

18      Mr. Meza going on running trips together?

19                  A.          Yes, I had heard that.

20                  Q.          When did you hear that?

21                  A.          I believe it was during the 8th grade

22      year.

23                  Q.          Okay.        Did you know that those were

24      overnight trips?

25                  A.          I had heard that.



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 1                  Q.          Where did you hear that?

 2                  A.          I believe it may have been from members

 3      of the running club or maybe one of the club

 4      sponsors.

 5                  Q.          Okay.        Did you ever hear about Gracie and

 6      Mr. Meza going on running trips with only one or two

 7      other individuals?

 8                  A.          I had heard that.

 9                  Q.          Okay.        And was Ella Parish one of those

10      individuals?

11                  A.          Yes, I had heard that.

12                  Q.          So was your understanding that this was a

13      running club activity?

14                  A.          I thought it was.

15                  Q.          Okay.        Did you ever see Mr. Meza at

16      school on the weekends?

17                  A.          Maybe.         I try not to go to the school on

18      the weekends.

19                  Q.          While Gracie was an 8th grade student,

20      did you ever see her in Mr. Meza's car?

21                  A.          Not that I remember.                      Really, not that I

22      remember.

23                  Q.          When -- are you aware of when Gracie

24      began spending the night at Mr. Meza's house?

25                  A.          That was not anything that I had heard



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 1                  Q.          Okay.        And I'll just go over them.

 2      Suzanne Szabo?

 3                  A.          No.      She would have not been Gracie's

 4      teacher that year.

 5                  Q.          Oh, okay.            And you said Ms. Bruns; is

 6      that right?

 7                  A.          I do not recall who was Gracie's science

 8      and math teacher that year, so I can't remember who

 9      they were.

10                  Q.          Okay.        Okay.         And I'm not trying to put

11      words in your mouth.                       I'm just trying to get these

12      names.

13                  A.          I understand completely.                       I just do not

14      remember which group of teachers I was cored with

15      that year.

16                  Q.          Did you ever document any concerns about

17      Mr. Meza's relationship with other females?

18                  A.          Not that I recall.

19                  Q.          Okay.        Did you ever report any concerns

20      about his relationship with other females?

21                  A.          Not that I'm aware of at this point.

22                  Q.          Okay.

23                  A.          I may have had documentation from before.

24      I really do not know.

25                  Q.          Okay.        Do you know whether any action was



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                                                                                1

 1                          IN THE UNITED STATES DISTRICT Marissa              Exhibit 10
 2                                 FOR THE DISTRICT OF WYOMING

 3      Civil Action No. 1:20-cv-00053-ABJ

 4      -----------------------------------------------------
        GRACIE ANN FORTH,
 5
                              Plaintiff,
 6
                    vs.
 7
        LARAMIE COUNTY SCHOOL DISTRICT
 8      No. 1 and John/Jane Does 1-10
        in his/her official capacity,
 9
                   Defendants.
10      -----------------------------------------------------

11

12
                      VIDEOCONFERENCE DEPOSITION OF ELLA PARISH
13                            Taken by the Plaintiff

14                                     9:00 a.m., Tuesday
                                       November 10, 2020
15

16                  PURSUANT TO NOTICE, the videoconference

17      deposition of ELLA PARISH was taken in accordance

18      with the applicable Wyoming Rules of Civil Procedure

19      before Lisa B. Kelly, a Registered Professional

20      Reporter, Certified Realtime Reporter and Notary

21      Public in and for the State of Colorado.

22

23

24

25



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                                                                                         21

 1      at Johnson Junior High?

 2                  A.          August 2012 through -- sorry.                  I have

 3      trouble with years.                      It was a total of five years,

 4      and I believe I left at the end of 2000 -- or the

 5      spring of 2017.

 6                  Q.          Okay.        And why did you leave Johnson

 7      Junior High?

 8                  A.          I wanted to try teaching at the

 9      elementary level.

10                  Q.          Any other reason?

11                  A.          No.

12                  Q.          So Gracie reported Joe Meza's incidents

13      in also the spring of 2017.                             Did that have anything

14      to do with your decision to leave or did you decide

15      to leave before that?

16                  A.          I decided to leave before that.

17                  Q.          Okay.        Do you know why Tina Hunter left

18      Johnson Junior High?

19                  A.          No, I do not.

20                  Q.          You have no idea?

21                  A.          No.

22                  Q.          Okay.        Have you ever been disciplined in

23      your work as an educator?

24                  A.          No.

25                  Q.          Have you ever been verbally disciplined?



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                                                                                       22

 1                  A.          Not that I can recall.

 2                  Q.          All right.                Have you ever received any

 3      written warnings or verbal warnings?

 4                  A.          Not that I'm aware of.

 5                  Q.          Have you ever been placed on

 6      administrative leave?

 7                  A.          No.

 8                  Q.          Has anyone threatened or discussed

 9      putting you on administrative leave, to your

10      knowledge?

11                  A.          No.

12                  Q.          Okay.        Have you ever been terminated from

13      employment or asked to resign?

14                  A.          No.

15                  Q.          Okay.        When was the first time you met

16      Mr. Meza?

17                  A.          August 2012.

18                  Q.          And what were the circumstances of your

19      meeting?

20                  A.          I believe it was the first staff meeting

21      at Johnson Junior High School.

22                  Q.          And what was your initial impression of

23      him?

24                  A.          That he was confident.

25                  Q.          Okay.        Any other impressions?



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                                                                                                23

 1                  A.          No, ma'am.

 2                  Q.          Okay.        Have your impression -- has your

 3      impression of him ever changed since that time?

 4                  A.          I still believe that he's confident.

 5                  Q.          Okay.

 6                  A.          I have gotten to know him more so I have

 7      more impressions than just that.

 8                  Q.          Okay.        So when do you feel like you got

 9      to know him?

10                  A.          When we began teaching together in the

11      same classroom.

12                  Q.          Okay.        When was that?

13                  A.          In the fall of 2014.

14                  Q.          Okay.        And what were you teaching?

15                  A.          Special education.                    And to clarify, I

16      teach or have taught all subjects:                                     math, English,

17      science and social studies, within special education.

18                  Q.          Okay.        And how was it that you were both

19      teaching in the same classroom?

20                  A.          It's called a co-taught classroom, where

21      there are both special education students and general

22      education students together.

23                  Q.          Is there a divider or are you officed in

24      the same room?

25                  A.          We're all in the same room and we teach



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 1      them all as if they are general education students,

 2      but we both are supporting the classroom.

 3                  Q.          How long did you teach in the same

 4      classroom?

 5                  A.          We taught in the same classroom for two

 6      years, but in between the two years was a year that

 7      we did not teach together in the classroom.

 8                  Q.          Okay.

 9                  A.          2014, slash, '15, we taught together.

10      '15/'16, we did not.                       And '16/'17, we did.

11                  Q.          Okay.        Okay.         Thank you.          And what were

12      your impressions of him as a teacher?

13                  A.          That he was a good teacher.

14                  Q.          Okay.        And was this in the 7th grade math

15      classroom that you were teaching together?

16                  A.          Yes.

17                  Q.          Okay.        Did you have a romantic

18      relationship with Mr. Meza while you were teaching at

19      Johnson Junior High?

20                  A.          No.

21                  Q.          When did your romantic relationship with

22      him begin?

23                  A.          In the fall of 2017.

24                  Q.          After his arrest?

25                  A.          Yes.



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 1                  Q.          But before he was sentenced?

 2                  A.          Yes.

 3                  Q.          Things can be romantic without being

 4      sexual.           Was there a romantic relationship before it

 5      was a sexual relationship?

 6                  A.          I would say no.

 7                  Q.          Okay.        So when did your relationship with

 8      him become sexual?                     In the fall of 2017?

 9                  A.          Yes.

10                  Q.          When did you and Mr. Meza become engaged

11      to be married?

12                  A.          Before his sentencing.

13                  Q.          Tell me, how did that happen?

14                  A.          He asked me if I would marry him, and I

15      said yes.

16                  Q.          Where did this take place?

17                  A.          At my house.

18                  Q.          Okay.        Did he give you a ring?

19                  A.          Yes.

20                  Q.          Are you still engaged?

21                  A.          Yes.

22                  Q.          When do you plan to be married?

23                  A.          We haven't planned.

24                  Q.          No date currently?

25                  A.          No.



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 1      ride?

 2                  A.          No.

 3                  Q.          So in 2014, when you were teaching

 4      together and Gracie is not a student of Mr. Meza, was

 5      she still present in his classroom?

 6                  A.          Yes.

 7                  Q.          Okay.        Would you see her there before

 8      school started?

 9                  A.          Sometimes.

10                  Q.          Okay.        How frequently?

11                  A.          At least two or three times a week.

12                  Q.          Okay.        And was that just her and Meza

13      before school in his classroom?

14                  A.          No.      There were typically other students

15      around.

16                  Q.          Okay.        Were there times where it was just

17      Gracie and Meza before school?

18                  A.          There may have been.

19                  Q.          Okay.        Why did Mr. Meza have students in

20      his classroom before school?

21                              MR. SMITH:                Object.       Calls for

22      speculation.               You may answer.

23                  A.          They would come to say good morning or

24      say hello or put stuff in the classroom to, you know,

25      be -- if that was their first class of the day.                             Just



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 1      to visit.

 2                  Q.          (BY MS. OLSON)                Okay.            Did you ever see

 3      that as inappropriate?

 4                  A.          No.

 5                  Q.          Never raised any concerns with you?

 6                  A.          No.

 7                  Q.          Okay.        And even though Gracie was not his

 8      student, she would still be present in his classroom

 9      before class started?

10                  A.          Yes.

11                  Q.          Okay.        How about during lunchtime?                    Would

12      students eat lunch in Joe's classroom?

13                  A.          I am not sure.                I wasn't typically around

14      during lunchtime.

15                  Q.          Okay.        Where would you be during

16      lunchtime?

17                  A.          In my classroom or office.

18                  Q.          Did you ever hear that Gracie ate lunch

19      practically every day in his classroom?

20                  A.          No, I did not hear that.

21                  Q.          How about after school?                          Would Gracie be

22      present in his class after school?

23                  A.          Yes.

24                  Q.          Okay.        Do you know why?

25                  A.          To prepare for running club.



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 1                  Q.          How often would you see her in his

 2      classroom after school?

 3                  A.          Running club was every day after school,

 4      so it was pretty much every day.

 5                  Q.          Okay.        Were there times when it was just

 6      her and Meza after school or were there others?

 7                  A.          Most of the time there were other

 8      students around.

 9                  Q.          Okay.        So I've been hearing about what

10      are called permanent passes, hall passes.                              Have you

11      ever heard of those, or a continuing hall pass?

12                  A.          For certain reasons, yeah.

13                  Q.          Okay.        So would it surprise you to know

14      that Gracie had one of these and could go to Meza's

15      room whenever she wanted?

16                  A.          So the question is, would it surprise me?

17                  Q.          Uh-huh.          Yes.

18                  A.          No.

19                  Q.          Did you know that she had one?

20                  A.          No.

21                  Q.          Okay.        During the day, when she was not

22      one of his students, would you see her in his

23      classroom?

24                  A.          Sometimes.

25                  Q.          Okay.        What was the -- when would you see



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 1      her?        What time frame are we talking about?

 2                  A.          I -- there was no specific time frame

 3      that I can remember.

 4                  Q.          Okay.        Were there times she would just

 5      come in when he was teaching class?

 6                  A.          Yes.

 7                  Q.          Okay.        Tell me about that.               Why would she

 8      do that?

 9                  A.          As far as I know, it was to either tell

10      him something positive about a grade or something

11      that happened in one of her classes or because she

12      had asked the teacher permission to come and visit

13      because -- well, I don't know why.

14                  Q.          Because he was her mentor?                     Or do you

15      have any idea?

16                  A.          That was the place she felt safe --

17                  Q.          Okay.

18                  A.          -- is my guess.

19                  Q.          Okay.        How frequently would she go into

20      his classroom when she was in 8th grade and not one

21      of his students?

22                  A.          I'm not sure because I wasn't always in

23      his classroom.

24                  Q.          On a weekly basis, from what you

25      observed, was it multiple times a week?



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 1                  A.          I don't know that I ever observed it more

 2      than two to three times a week.

 3                  Q.          Okay.

 4                              THE DEPONENT:                Can we take a little break

 5      so I can use the bathroom?

 6                              MS. OLSON:                I was just going to suggest

 7      that.         So, yes.           How about we meet back here in 10 to

 8      12 minutes?

 9                              THE REPORTER:                Perfect.

10                              (Recess taken, 10:18 a.m. to 10:28 a.m.)

11                  Q.          (BY MS. OLSON)                I want to go back to

12      2014, the 2014/2015 school year.                                  Did you ever see

13      Gracie with Joe on the weekends?

14                  A.          Yes.

15                  Q.          Okay.        How often would you see her with

16      him?

17                  A.          I only saw her with him when I was with

18      them and maybe a handful of times that fall or

19      winter.

20                  Q.          Okay.        And what were the occasions that

21      they would be together on the weekends?

22                  A.          Running.

23                  Q.          Did they ever go out to dinner, see them

24      at dinner or --

25                  A.          I never saw them at dinner.



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 1                  A.          I could tell that she cared what he

 2      thought and that she seemed to benefit from, you

 3      know, being around him, but I never thought that she

 4      was obsessed.

 5                  Q.          Did you ever think that she liked him

 6      romantically?

 7                  A.          No.      I never got that impression.

 8                  Q.          Okay.        Let's talk about one of the trips

 9      to Denver.              Well, how many running trips did you go

10      on?

11                  A.          Two, that I can recall.

12                  Q.          Was the first one in October of 2014?

13                  A.          Yes.

14                  Q.          Was that a half marathon that you did

15      with Gracie and Meza?

16                  A.          Yes.

17                  Q.          Who went down?

18                  A.          It was Joe, Gracie and myself.

19                  Q.          Did you all ride together?

20                  A.          Yes.

21                  Q.          And why did you go on this trip?

22                  A.          I was also interested in running a half

23      marathon.             And we had been training together when --

24      I'm answering a question that you didn't necessarily

25      ask, but when you -- when I began training, I let



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 1      So, no, I did not think to tell the school.

 2                  Q.          Do you know what the Wyoming Professional

 3      Conduct Guide says about taking trips with students?

 4                  A.          I do not.

 5                  Q.          Okay.        Did you spend the night in Denver?

 6                  A.          Yes.

 7                  Q.          And what were the sleeping arrangements?

 8                  A.          Gracie and I stayed in one room together

 9      and Joe stayed in a separate room.

10                  Q.          Did you see any friends while you were

11      there in Denver?

12                  A.          Not that I know of.

13                  Q.          Okay.        Did Joe and Gracie go to a haunted

14      house together?

15                  A.          I believe they did.

16                  Q.          Did you go on that excursion?

17                  A.          I did not.

18                  Q.          Why didn't you go?

19                  A.          I stayed at the hotel room and had a

20      conversation on the phone with my husband at the

21      time.

22                  Q.          Okay.        So Joe and Gracie did have

23      unsupervised time together?

24                  A.          Yes.

25                  Q.          Do you know how long they were gone?



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 1                  A.          To the best I can remember, it was about

 2      an hour or less.

 3                  Q.          Is this the time that the three of you

 4      went to dinner?

 5                  A.          Yes.

 6                  Q.          Okay.        If Gracie testified that she had

 7      intercourse with Joe on this trip, would you dispute

 8      that?

 9                  A.          I have no knowledge of it.

10                  Q.          You took another trip to Brighton,

11      Colorado, in December of 2014; is that correct?

12                  A.          Yes.

13                  Q.          Tell me about that trip.                       Who went and

14      what did you do?

15                  A.          For that trip, it was Gracie, Joe, myself

16      and my husband at the time.

17                  Q.          And did you go and spend the night?

18                  A.          Yes.

19                  Q.          Was this another trip for running?

20                  A.          Yes.

21                  Q.          Did you run on that trip?

22                  A.          I did not run.                I was registered to run

23      the race, but I did not run.

24                  Q.          Were you not feeling well?

25                  A.          I had just become pregnant and was not



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 1      feeling well at all.

 2                  Q.          Okay.        Did you consider yourself to be a

 3      chaperone on this trip?

 4                  A.          I -- I am having a hard time answering

 5      that question.                 Not as much as on the first trip.       I

 6      felt it was just more of a group trip, but we did

 7      spend some time together, so . . .

 8                  Q.          Okay.        Did Becky go on this trip?

 9                  A.          No.

10                  Q.          Okay.        What were the room assignments for

11      this trip?

12                  A.          For this trip Joe -- to my knowledge, Joe

13      was in one room, Gracie was in a separate room, on

14      her own, and I was in a room with my husband at the

15      time.

16                  Q.          Okay.        So did Joe and Gracie have

17      unsupervised time together on this trip?

18                  A.          Yes.

19                  Q.          Was that during the night and -- any

20      other unsupervised time?

21                  A.          Not that I can think of, other than the

22      night.

23                  Q.          Did the school know about this trip?

24                  A.          I do not believe they did.

25                  Q.          Did you know that Gracie and Joe took



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 1                  Q.          Okay.        Who else has Gracie accused of --

 2      accused, I guess?

 3                  A.          To my -- personally, maybe not formally,

 4      she accused her stepdad of being inappropriate with

 5      her and then the situation in which she was raped at

 6      that party.

 7                  Q.          Do you have any reason to believe she

 8      wasn't raped?

 9                  A.          No.      No.

10                  Q.          Okay.        You would agree with me that

11      responding to this kind of post is completely

12      inappropriate?

13                  A.          I would say that I did not use my best

14      judgment when I responded to this post.

15                  Q.          Okay.        And it's -- the way it's written,

16      it's completely false, correct?                                 She has not accused

17      any other teachers?

18                  A.          She has not accused any other teachers

19      and I -- I don't believe that I would have spread

20      that sort of thing purposely.                               That's misinformation.

21      And that -- I can say for sure that that was not my

22      purpose of responding that way.

23                  Q.          Okay.        What was your purpose?

24                  A.          I think in that moment it was standing up

25      for someone who I cared very much about.                                 But, again,



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 1                  A.          It is around the time, yes.

 2                  Q.          Okay.        It says, "Phone call with Cara

 3      Origima."             Do you know who that is?

 4                  A.          Nope, I do not.

 5                  Q.          Okay.        Okay.         It says, "Joe" -- a little

 6      bit further down in the page, "Joe has been reaching

 7      out to" -- I believe it's Marissa Molloy -- "through

 8      Parish."            Were you ever speaking with Marissa Molloy

 9      about supporting Joe before the trial?

10                  A.          We spoke of her support of Joe.

11                  Q.          Was she going to testify in support of

12      him?

13                  A.          I believe she was.

14                  Q.          Okay.        Do you know what the basis of her

15      testimony would have been?

16                  A.          I do not.

17                  Q.          Okay.        You never talked about that?

18                  A.          I mean, I can -- if you want me to

19      assume, I can assume it was about her relationship --

20      Marissa's relationship with Joe and what she knew of

21      him.

22                  Q.          Okay.        Then it says, down on the second

23      half of the page, "Ella met her dad through

24      Mr. Meza."              Do you know who that is?

25                  A.          It meant Marissa's dad through Joe Meza.



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